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                                            #: 12456



                           IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF DELAWARE

  UNITED THERAPEUTICS                               )
  CORPORATION,                                      )
                                                    )
                   Plaintiff,                       )
                                                    )
     v.                                             ) C.A. No. 23-975-RGA-SRF
                                                    )
  LIQUIDIA TECHNOLOGIES, INC.,                      )
                                                    )
                   Defendant.                       )


    [PROPOSED] ORDER GRANTING DEFENDANT LIQUIDIA TECHNOLOGIES,
      INC.’S LETTER MOTION REQUESTING DOCUMENTS RESPONSIVE TO
                  LIQUIDIA’S REQUESTS FOR PRODUCTION

 Upon consideration of Defendant Liquidia Technologies, Inc.’s (“Liquidia”) letter motion seeking

 the Court’s assistance in compelling the production of documents responsive to Liquidia’s Request

 for Production Nos. 20, 21, 26, 27, 28, 40, 43, and 44 IT IS HEREBY ORDERED THAT:

    1. UTC shall produce documents responsive to Liquidia’s Request for Production Nos. 20,

          21, 26, 27, 28, 40, 43, and 44 within seven (7) days of this Order.


    SO ORDERED this ______ day of ______________, 2024




                                                        ___________________________________
                                                        Sherry R Fallon
                                                        UNITED STATES MAGISTRATE JUDGE
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                        EXHIBIT 1
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                                            #: 12458



                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

  UNITED THERAPEUTICS                              )
  CORPORATION,                                     )
                                                   )
                          Plaintiff                )
                                                   )   C.A. No. 23-975 (RGA) (SRF)
                  v.                               )
                                                   )
  LIQUIDIA TECHNOLOGIES, INC.,                     )
                                                   )
                          Defendant.               )

                PLAINTIFF’S RESPONSES AND OBJECTIONS
     TO DEFENDANT’S FIRST SET OF REQUESTS FOR PRODUCTION (NOS. 1-75)

          Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff United

 Therapeutics Corporation (“UTC” or “Plaintiff”), by and through its undersigned counsel, hereby

 responds to Defendant Liquidia Technologies, Inc.’s (“Liquidia” or “Defendant”) First Set of

 Requests for Production of Documents and Things (Nos. 1-75).

                                  PRELIMINARY STATEMENT

          The following responses are made solely for the purpose of, and in relation to, this action.

 Each response is provided subject to all appropriate objections (including, without limitation,

 objections relating to competency, relevancy, propriety, proportionality, and admissibility) that

 would require the exclusion of any statement provided herein if that statement were made by a

 witness testifying in court. All such objections are reserved and may be interposed at the time of

 trial.

          The following responses are made based on the facts and information presently known to

 UTC. The responses refer only to the contentions that have been asserted to date, based on facts

 known to UTC. Discovery, investigation, and research are all still ongoing in this case, which may

 bring to light additional facts, add meaning to known facts, establish new factual or legal
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        Subject to and without waiving the foregoing general and specific objections, UTC is

 willing to meet and confer regarding this Request. As with all other responses, UTC reserves the

 right to supplement this response.

 REQUEST FOR PRODUCTION NO. 20:

       All presentations, papers, and posters concerning the use of treprostinil in patients with
 pulmonary hypertension associated with interstitial lung disease sponsored by UTC.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

        UTC incorporates by reference the Preliminary Statement, General Objections, Objections

 to Definitions, and Objections to Instructions set forth above as if fully stated herein.

        UTC objects to this Request as vague, ambiguous, overly broad, unduly burdensome, and

 disproportional to the needs of the case (for example, without limitation, in seeking “[a]ll

 presentations, papers, and posters concerning”). UTC objects to this Request to the extent it asks

 UTC to produce or analyze information not within its possession, custody, or control. UTC objects

 to this Request to the extent that it calls for information that can be obtained from others or public

 sources, or is otherwise equally accessible to Liquidia. UTC objects to this Request to the extent

 that it seeks information that is protected from discovery by the attorney-client privilege, attorney

 work product immunity, or any other privilege or immunity from discovery.

        Subject to and without waiving the foregoing general and specific objections, UTC is

 willing to meet and confer regarding this Request. As with all other responses, UTC reserves the

 right to supplement this response.




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 REQUEST FOR PRODUCTION NO. 21:

        All communications between UTC and Rajeev Saggar M.D. and Rajan Saggar M.D.
 regarding the use or potential use of inhaled treprostinil, including TYVASO®, in patients with
 pulmonary hypertension associated with interstitial lung disease.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

         UTC incorporates by reference the Preliminary Statement, General Objections, Objections

 to Definitions, and Objections to Instructions set forth above as if fully stated herein.

         UTC objects to this Request to the extent it seeks information not relevant to any party’s

 claim or defense nor proportional to the needs of the case (i.e., information wholly unrelated to

 TYVASO®).           UTC objects to this Request as vague, ambiguous, overly broad, unduly

 burdensome, and disproportional to the needs of the case (for example, without limitation, the term

 “[a]ll communications” is vague and ambiguous at least because the Request does not describe

 with whom at UTC the “communications” are with). UTC objects to this Request as duplicative

 with other Requests. UTC objects to this Request to the extent that it calls for information that

 can be obtained from others or public sources, or is otherwise equally accessible to Liquidia. UTC

 objects to this Request to the extent it asks UTC to produce or analyze information not within its

 possession, custody, or control. UTC objects to this Request to the extent that it seeks information

 that is protected from discovery by the attorney-client privilege, attorney work product immunity,

 or any other privilege or immunity from discovery. UTC objects to this Request to the extent that

 it seeks disclosure of information that UTC cannot disclose pursuant to confidentiality obligations

 to third parties.

         Subject to and without waiving the foregoing general and specific objections, UTC is

 willing to meet and confer regarding this Request. As with all other responses, UTC reserves the

 right to supplement this response.




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  REQUEST FOR PRODUCTION NO. 26:

           All communications between UTC and the authors of Rajeev Saggar et al., Changes in
  right heart haemodynamics and echocardiographic function in an advanced phenotype of
  pulmonary hypertension and right heart dysfunction associated with pulmonary fibrosis, 69
  THORAX 123 (2014) (LIQ_PH-ILD_00000226), regarding the use or potential use of inhaled
  treprostinil, including TYVASO®, for the treatment of pulmonary hypertension associated with
  interstitial lung disease.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

         UTC incorporates by reference the Preliminary Statement, General Objections, Objections

  to Definitions, and Objections to Instructions set forth above as if fully stated herein.

         UTC objects to this Request to the extent it seeks information not relevant to any party’s

  claim or defense nor proportional to the needs of the case (i.e., information wholly unrelated to

  TYVASO®).        UTC objects to this Request as vague, ambiguous, overly broad, unduly

  burdensome, and disproportional to the needs of the case (for example, without limitation, the term

  “[a]ll communications” is vague and ambiguous at least because the Request does not describe

  with whom at UTC the “communications” are with). UTC objects to this Request to the extent

  that it calls for information that can be obtained from others or public sources, or is otherwise

  equally accessible to Liquidia. UTC objects to this Request to the extent it asks UTC to produce

  or analyze information not within its possession, custody, or control. UTC objects to this Request

  to the extent that it seeks information that is protected from discovery by the attorney-client

  privilege, attorney work product immunity, or any other privilege or immunity from discovery.

  UTC objects to this Request to the extent that it seeks disclosure of information that UTC cannot

  disclose pursuant to confidentiality obligations to third parties.

         Subject to and without waiving the foregoing general and specific objections, UTC is

  willing to meet and confer regarding this Request. As with all other responses, UTC reserves the

  right to supplement this response.




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  REQUEST FOR PRODUCTION NO. 27:

         All documents and communications regarding UTC’s decision to fund of the study
  described in Rajeev Saggar et al., Changes in right heart haemodynamics and echocardiographic
  function in an advanced phenotype of pulmonary hypertension and right heart dysfunction
  associated with pulmonary fibrosis, 69 THORAX 123 (2014) (LIQ_PH-ILD_00000226)

  RESPONSE TO REQUEST FOR PRODUCTION NO. 27:

         UTC incorporates by reference the Preliminary Statement, General Objections, Objections

  to Definitions, and Objections to Instructions set forth above as if fully stated herein.

         UTC objects to this Request to the extent it seeks information not relevant to any party’s

  claim or defense nor proportional to the needs of the case (i.e., information wholly unrelated to

  TYVASO®).        UTC objects to this Request as vague, ambiguous, overly broad, unduly

  burdensome, and disproportional to the needs of the case (for example, without limitation, the term

  “[a]ll documents and communications” is vague and ambiguous at least because the Request does

  not describe with whom the “communications” are with). UTC objects to this Request as

  duplicative with other Requests, e.g., Request Nos. 20, 21, 26. UTC objects to this Request to the

  extent that it calls for information that can be obtained from others or public sources, or is

  otherwise equally accessible to Liquidia. UTC objects to this Request to the extent it asks UTC to

  produce or analyze information not within its possession, custody, or control. UTC objects to this

  Request to the extent that it calls for UTC to prepare documents and/or things that do not already

  exist or calls for information in a format other than in which it is ordinarily kept by UTC. UTC

  objects to this Request to the extent that it seeks information that is protected from discovery by

  the attorney-client privilege, attorney work product immunity, or any other privilege or immunity

  from discovery. UTC objects to this Request to the extent that it seeks disclosure of information

  that UTC cannot disclose pursuant to confidentiality obligations to third parties.




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         Subject to and without waiving the foregoing general and specific objections, UTC is

  willing to meet and confer regarding this Request. As with all other responses, UTC reserves the

  right to supplement this response.

  REQUEST FOR PRODUCTION NO. 28:

         All communications between UTC and the authors of K. Parikh., et al., Safety and
  Tolerability of High-dose Inhaled Treprostinil in Pulmonary Hypertension, J. CARDIOVASC
  PHARMACOL. 67(4); 322–25 (2016) (UTC_PH-ILD_010599), regarding the use or potential use
  of inhaled treprostinil, including TYVASO®, for the treatment of pulmonary hypertension
  associated with interstitial lung disease.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 28:

         UTC incorporates by reference the Preliminary Statement, General Objections, Objections

  to Definitions, and Objections to Instructions set forth above as if fully stated herein.

         UTC objects to this Request to the extent it seeks information not relevant to any party’s

  claim or defense nor proportional to the needs of the case (i.e., information wholly unrelated to

  TYVASO®).        UTC objects to this Request as vague, ambiguous, overly broad, unduly

  burdensome, and disproportional to the needs of the case (for example, without limitation, the term

  “[a]ll communications” is vague and ambiguous at least because the Request does not describe

  with whom at UTC the “communications” are with). UTC objects to this Request to the extent

  that it calls for information that can be obtained from others or public sources, or is otherwise

  equally accessible to Liquidia. UTC objects to this Request to the extent it asks UTC to produce

  or analyze information not within its possession, custody, or control. UTC objects to this Request

  to the extent that it seeks information that is protected from discovery by the attorney-client

  privilege, attorney work product immunity, or any other privilege or immunity from discovery.

  UTC objects to this Request to the extent that it seeks disclosure of information that UTC cannot

  disclose pursuant to confidentiality obligations to third parties.




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         Subject to and without waiving the foregoing general and specific objections, UTC will

  not produce or open for inspection documents and things responsive to this Request. As with all

  other responses, UTC reserves the right to supplement this response.

  REQUEST FOR PRODUCTION NO. 29:

         All documents and communications regarding UTC’s decision to sponsor the study
  described in K. Parikh., et al., Safety and Tolerability of High-dose Inhaled Treprostinil in
  Pulmonary Hypertension, J. CARDIOVASC PHARMACOL. 67(4); 322–25 (2016) (UTC_PH-
  ILD_010599).

  RESPONSE TO REQUEST FOR PRODUCTION NO. 29:

         UTC incorporates by reference the Preliminary Statement, General Objections, Objections

  to Definitions, and Objections to Instructions set forth above as if fully stated herein.

         UTC objects to this Request to the extent it seeks information not relevant to any party’s

  claim or defense nor proportional to the needs of the case (i.e., information wholly unrelated to

  TYVASO®).        UTC objects to this Request as vague, ambiguous, overly broad, unduly

  burdensome, and disproportional to the needs of the case (for example, without limitation, the term

  “[a]ll documents and communications” is vague and ambiguous at least because the Request does

  not describe with whom the “communications” are with). UTC objects to this Request as

  duplicative with other Requests, e.g., Request No. 20, 28. UTC objects to this Request to the

  extent that it calls for information that can be obtained from others or public sources, or is

  otherwise equally accessible to Liquidia. UTC objects to this Request to the extent it asks UTC to

  produce or analyze information not within its possession, custody, or control. UTC objects to this

  Request to the extent that it calls for UTC to prepare documents and/or things that do not already

  exist or calls for information in a format other than in which it is ordinarily kept by UTC. UTC

  objects to this Request to the extent that it seeks information that is protected from discovery by

  the attorney-client privilege, attorney work product immunity, or any other privilege or immunity




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  protected from discovery by the attorney-client privilege, attorney work product immunity, or any

  other privilege or immunity from discovery. UTC objects to this Request to the extent that it seeks

  disclosure of information that UTC cannot disclose pursuant to confidentiality obligations to third

  parties.

             Subject to and without waiving the foregoing general and specific objections, UTC is

  willing to meet and confer regarding this Request. As with all other responses, UTC reserves the

  right to supplement this response.

  REQUEST FOR PRODUCTION NO. 40:

          All documents and things concerning the research, development, and/or testing of
  treprostinil for its effect in patients with pulmonary hypertension associated with interstitial lung
  disease, including but not limited to any correspondence, research proposals, or protocols relating
  to treprostinil.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 40:

             UTC incorporates by reference the Preliminary Statement, General Objections, Objections

  to Definitions, and Objections to Instructions set forth above as if fully stated herein.

             UTC objects to this Request to the extent it seeks information not relevant to any party’s

  claim or defense nor proportional to the needs of the case. UTC objects to this Request as vague,

  ambiguous, overly broad, unduly burdensome, and disproportional to the needs of the case (for

  example without limitation, in seeking “[a]ll documents and things concerning”). UTC objects to

  this Request as duplicative with other Requests. UTC objects to this Request as overly broad

  because it is not limited in geographic scope or a time period that is relevant to this litigation. UTC

  objects to this Request as prematurely seeking expert discovery for which UTC’s experts may

  provide information responsive to this Request during expert discovery. UTC objects to this

  Request to the extent it asks UTC to produce or analyze information not within its possession,

  custody, or control. UTC objects to this Request to the extent that it calls for information that can




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  be obtained from others or public sources, or is otherwise equally accessible to Liquidia. UTC

  objects to this Request to the extent that it seeks information that is protected from discovery by

  the attorney-client privilege, attorney work product immunity, or any other privilege or immunity

  from discovery. UTC objects to this Request to the extent that it seeks disclosure of information

  that UTC cannot disclose pursuant to confidentiality obligations to third parties. UTC objects to

  this Request as duplicative of other Requests.

          Subject to and without waiving the foregoing general and specific objections, UTC refers

  Liquidia to its response to Request for Production No. 1, above. Otherwise, UTC is willing to meet

  and confer regarding this Request. As with all other responses, UTC reserves the right to

  supplement this response.

  REQUEST FOR PRODUCTION NO. 41:

           All documents and things, including but not limited to internal UTC presentations and
  meeting minutes, addressing clinical trials or proposals for clinical trials for the use of treprostinil
  to treat pulmonary hypertension associated with interstitial lung disease, including but not limited
  to use of TYVASO®.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 41:

          UTC incorporates by reference the Preliminary Statement, General Objections, Objections

  to Definitions, and Objections to Instructions set forth above as if fully stated herein.

          UTC objects to this Request to the extent it seeks information not relevant to any party’s

  claim or defense nor proportional to the needs of the case. UTC objects to this Request as vague,

  ambiguous, overly broad, unduly burdensome, and disproportional to the needs of the case (for

  example, without limitation, in seeking “[a]ll documents and things”). UTC objects to this Request

  as duplicative with other Requests. UTC objects to this Request as overly broad because it is not

  limited in geographic scope or a time period that is relevant to this litigation. UTC objects to this

  Request as prematurely seeking expert discovery for which UTC’s experts may provide




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                                            #: 12467



  “materials disseminated,” and “meeting notes”). UTC objects to this Request as duplicative with

  other Requests. UTC objects to this Request as overly broad because it is not limited in geographic

  scope or a time period that is relevant to this litigation. UTC objects to this Request as prematurely

  seeking expert discovery for which UTC’s experts may provide information responsive to this

  Request during expert discovery. UTC objects to this Request to the extent it asks UTC to produce

  or analyze information not within its possession, custody, or control. UTC objects to this Request

  to the extent that it calls for information that can be obtained from others or public sources, or is

  otherwise equally accessible to Liquidia. UTC objects to this Request to the extent that it seeks

  information that is protected from discovery by the attorney-client privilege, attorney work product

  immunity, or any other privilege or immunity from discovery. UTC objects to this Request to the

  extent that it seeks disclosure of information that UTC cannot disclose pursuant to confidentiality

  obligations to third parties.

          Subject to and without waiving the foregoing general and specific objections, UTC refers

  Liquidia to its response to Request for Production No. 1, above. Otherwise, UTC is willing to meet

  and confer regarding this Request. As with all other responses, UTC reserves the right to

  supplement this response.

  REQUEST FOR PRODUCTION NO. 43:

          All documents and things related to NDA No. 022387 for TYVASO®, including without
  limitation the complete file of NDA No. 022387 for TYVASO®, communications with the FDA,
  and any supplemental applications and/or amendments thereto, including, but not limited to, all
  investigational new drug (“IND”) applications, regardless of whether they were filed with the
  FDA.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 43:

          UTC incorporates by reference the Preliminary Statement, General Objections, Objections

  to Definitions, and Objections to Instructions set forth above as if fully stated herein.




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         UTC objects to this Request to the extent it seeks information not relevant to any party’s

  claim or defense nor proportional to the needs of the case. UTC objects to this Request as vague,

  ambiguous, overly broad, unduly burdensome, and disproportional to the needs of the case (for

  example, without limitation, in seeking “[a]ll documents and things related to”). UTC objects to

  this Request to the extent that it calls for UTC to prepare documents and/or things that do not

  already exist or calls for information in a format other than in which it is ordinarily kept by UTC.

  UTC objects to this Request to the extent that it seeks information that is protected from discovery

  by the attorney-client privilege, attorney work product immunity, or any other privilege or

  immunity from discovery. UTC objects to this Request to the extent that it seeks disclosure of

  information that UTC cannot disclose pursuant to confidentiality obligations to third parties. UTC

  objects to this Request as duplicative of other Requests, e.g., Request No. 44. UTC further objects

  to the extent that this request seeks the production of documents already in Liquidia’s possession

  due to its involvement in United Therapeutics Corp. v. Liquidia Techs. Inc., No. 20-755-RGA (D.

  Del.), and are thus just as accessible to Liquidia as they are to UTC.

         Subject to and without waiving the foregoing general and specific objections, UTC is

  willing to meet and confer regarding this Request. As with all other responses, UTC reserves the

  right to supplement this response

  REQUEST FOR PRODUCTION NO. 44:

         All documents and things related to NDA No. 214324 for TYVASO DPI®, including
  without limitation the complete file of NDA No. 214324 for TYVASO DPI®, communications
  with the FDA, and any supplemental applications and/or amendments thereto, including, but not
  limited to investigational new drug (“IND”) applications, regardless of whether they were filed
  with the FDA.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 44:

         UTC incorporates by reference the Preliminary Statement, General Objections, Objections

  to Definitions, and Objections to Instructions set forth above as if fully stated herein.



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         UTC objects to this Request to the extent it seeks information not relevant to any party’s

  claim or defense nor proportional to the needs of the case. UTC objects to this Request as vague,

  ambiguous, overly broad, unduly burdensome, and disproportional to the needs of the case (for

  example, without limitation, in seeking “[a]ll documents and things related to”). UTC objects to

  this Request to the extent that it calls for UTC to prepare documents and/or things that do not

  already exist or calls for information in a format other than in which it is ordinarily kept by UTC.

  UTC objects to this Request to the extent that it seeks information that is protected from discovery

  by the attorney-client privilege, attorney work product immunity, or any other privilege or

  immunity from discovery. UTC objects to this Request to the extent that it seeks disclosure of

  information that UTC cannot disclose pursuant to confidentiality obligations to third parties. UTC

  objects to this Request as duplicative of other Requests, e.g., Request No. 43.

         Subject to and without waiving the foregoing general and specific objections, UTC is

  willing to meet and confer regarding this Request. As with all other responses, UTC reserves the

  right to supplement this response.

  REQUEST FOR PRODUCTION NO. 45:

       Five TYVASO DPI® Inhaler inhalation devices disclosed in the 2022 Tyvaso DPI® Label
  (UTC_PH-ILD_010709).

  RESPONSE TO REQUEST FOR PRODUCTION NO. 45:

         UTC incorporates by reference the Preliminary Statement, General Objections, Objections

  to Definitions, and Objections to Instructions set forth above as if fully stated herein.

         UTC objects to this Request to the extent it seeks information not relevant to any party’s

  claim or defense nor proportional to the needs of the case. UTC objects to this Request to the

  extent that it calls for information that can be obtained from others or public sources, or is

  otherwise equally accessible to Liquidia. UTC objects to this Request to the extent that it seeks




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  product immunity, or any other privilege or immunity from discovery. UTC objects to this Request

  to the extent that it seeks disclosure of information that UTC cannot disclose pursuant to

  confidentiality obligations to third parties. UTC objects to this Request as duplicative with other

  Requests, e.g., Request Nos. 69, 71-74.

         Subject to and without waiving the foregoing general and specific objections, UTC is

  willing to meet and confer regarding this Request. As with all other responses, UTC reserves the

  right to supplement this response.


                                                    MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                    /s/ Michael J. Flynn

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                                                    Michael J. Flynn (#5333)
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  June 17, 2024




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on June 17, 2024, copies of the foregoing were caused to be served

  upon the following in the manner indicated:

   Karen E. Keller, Esquire                                           VIA ELECTRONIC MAIL
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   Technologies, Inc.

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   Technologies, Inc.



                                                     /s/ Michael J. Flynn

                                                     Michael J. Flynn (#5333)
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                        EXHIBIT 2
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                                                                         Page 1

  1                     UNITED STATES DISTRICT COURT
  2                                       FOR THE
  3                             DISTRICT OF DELAWARE
  4    UNITED THERAPEUTICS                        )
       CORPORATION,                               )
  5                                               )
                          PLAINTIFF,              )    CIVIL ACTION NO.
  6                                               )    1:23-cv-00975-RGA
                    VS.                           )
  7                                               )
       LIQUIDIA TECHNOLOGIES,                     )
  8    INC.,                                      )
                                                  )
  9                       DEFENDANT.              )
       ___________________________)
 10
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 17            VIDEOTAPED DEPOSITION OF RAJAN SAGGAR, MD
 18                       TUESDAY, SEPTEMBER 17, 2024
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 22
 23
 24    JOB NO. 6872552
 25    REPORTED BY:          DAYNA HESTER, C.S.R. 9970

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  1    VIDEOTAPED DEPOSITION OF RAJAN SAGGAR, MD, TAKEN ON
  2    BEHALF OF DEFENDANT LIQUIDIA TECHNOLOGIES, INC., AT
  3    9:37 A.M., TUESDAY, SEPTEMBER 17, 2024, AT COOLEY
  4    LLP, 1333 SECOND STREET, SUITE 400
  5    ,SANTA MONICA, CALIFORNIA 90401, BEFORE DAYNA
  6    HESTER, C.S.R. NO. 9970, PURSUANT TO SUBPOENA.
  7
  8    APPEARANCES OF COUNSEL:
  9    FOR PLAINTIFF UNITED THERAPEUTICS CORPORATION:
 10           MCDERMOTT WILL & EMERY
              BY:    ART DYKHUIS, ESQ.
 11                  (PRESENT IN PERSON)
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 13           ADYKHUIS@MWE.COM
 14           MCDERMOTT WILL & EMERY
              BY:    COURTNEY SEAMS, ESQ.
 15                  (PRESENT IN PERSON)
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 25            -- APPEARANCES CONTINUED ON NEXT PAGE --

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  1    APPEARANCES OF COUNSEL (CONTINUED):
  2    FOR DEFENDANT LIQUIDIA TECHNOLOGIES, INC.:
  3         COOLEY LLP
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  4              (PRESENT IN PERSON)
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            BY:  ROBERT MINN, ESQ.
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            55 HUDSON YARDS
  9         NEW YORK, NEW YORK   10001
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 11
       ALSO PRESENT:
 12
               KEVIN DEL CID, VIDEOGRAPHER
 13            (PRESENT IN PERSON)
 14
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  1           A.       Yes.
  2           Q.       Okay.      If you look in the disclosure
  3    statement at the end of your 2009 publication --
  4           A.       Yes.
  5           Q.       -- it says [as read]:
  6                         "A research grant was provided by
  7                    United Therapeutics."
  8                    Do you see that?
  9           A.       Yes.
 10           Q.       How, if at all, did United Therapeutics
 11    support the work that is described in the
 12    2009 publication?
 13           A.       So Unit- --
 14                    MR. DYKHUIS:          Object to form.
 15                    THE WITNESS:          United Therapeutics at the
 16    time gave us an                                                  grant to
 17    conduct or pursue this work using parenteral
 18    treprostinil.
 19    BY MR. DAVIES:
 20           Q.       What is an "
 21    grant"?
 22           A.




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  6           Q.       Did you have discussions with United
  7    Therapeutics about your 2009 and 2014 -- let me --
  8    let me rephrase that.
  9                    Was United Therapeutics involved in the
 10    decision to pursue the studies and the case report
 11    that are described in your 2009 and 2014
 12    publication?
 13                    MR. DYKHUIS:         Objection to form.
 14                    THE WITNESS:




 22                    So they were not involved with anything
 23    except the                                             grant.
 24    BY MR. DAVIES:
 25           Q.       And the work that you are talking about

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  1    that that grant supported, that was the -- the use
  2    of Remodulin for treatment of PH-ILD; correct?
  3                    MR. DYKHUIS:         Object --
  4                    THE WITNESS:         That's correct.
  5                    MR. DYKHUIS:         Object to form.
  6    BY MR. DAVIES:
  7           Q.       And that work is reflected in your 2009
  8    and 2014 publication?
  9                    MR. DYKHUIS:         Same objection.
 10                    THE WITNESS:         Correct.
 11    BY MR. DAVIES:
 12           Q.       Who did you talk to, if you can recall, at
 13    United Therapeutics about that work, you using
 14    Remodulin for treatment of PH-ILD?
 15           A.       Yeah, so he is now retired.                 I cannot
 16    remember his last name, but I can get that name for
 17    you.    His first name is                       .
 18                    At that time United Therapeutics was a
 19    very small company and


                                                                          .    So I
 22    had a one-on-one discussion with                             , and they
 23    were able to offer us this                                         grant.
 24    But I think it was helpful in producing this data.
 25           Q.       Do you recall when that discussion was

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  1    with               ?
  2                    MR. DYKHUIS:         Object to form.
  3                    THE WITNESS:         No.
  4    BY MR. DAVIES:
  5           Q.       Do you recall when you received the
  6                                          grant?
  7           A.       No.    But this all would have had to have
  8    been somewhere around -- prior to these manuscripts
  9    becoming available.             So I suspect it was in the
 10    2008 time space.
 11           Q.       Was United Therapeutics involved in the
 12    review, prior to publication, of either your 2009 or
 13    2014 publications --
 14                    MR. DYKHUIS:         Object to form.
 15                    THE WITNESS:         No.
 16    BY MR. DAVIES:
 17           Q.       -- Exhibit 2 or 3?
 18           A.       No.
 19           Q.       In this initial discussion with
 20    at -- at UTC, did he express any skepticism about
 21    the use of Remodulin for the treatment of PH-ILD?
 22                    MR. DYKHUIS:         Object to form.
 23                    THE WITNESS:




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  8    BY MR. DAVIES:
  9           Q.       The idea to conduct these studies on the
 10    use of Remodulin for treatment of PH-ILD was your
 11    idea, though, and not United Therapeutics.
 12                    Is that fair?
 13           A.       Correct.
 14                    MR. DYKHUIS:         Object to form.
 15    BY MR. DAVIES:
 16           Q.       After this initial discussion with
 17                , did you have any other discussions with
 18    anyone at United Therapeutics about the work in
 19    either your 2009 or 2014 publications?
 20           A.




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 18           Q.       And just to be clear, when you say "at
 19    this time," what time did these discussions with
 20    United Therapeutics take place about




 23                    MR. DYKHUIS:         Object to form.
 24                    THE WITNESS:         Yeah.      It -- I can't give
 25    you an exact date, but it would have been --

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  1            these discussions happened                                .     So
  2    somewhere between                  and          .
  3    BY MR. DAVIES:
  4           Q.       In those discussions with United
  5    Therapeutics, did you understand that




  9                    MR. DYKHUIS:         Objection to form.
 10                    THE WITNESS:




 13    BY MR. DAVIES:
 14           Q.       Uh-huh.
 15           A.




 21           Q.       And was part of the motivation for




 24           A.
 25                    MR. DYKHUIS:         Objection.        Form.

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  1    BY MR. DAVIES:
  2            Q.         Who were you talking to at United
  3    Therapeutics during this                       to          time period
  4    about                    ?
  5            A.         Boy, it's -- it's -- there's several
  6    individuals.
  7                       So back in the day, we were dealing with
  8    their                              .    His name was
                      .
 10                       And -- and I'm not sure what the title was
 11    of                                , but he was


                           .   I'm not sure exactly what his title
 14    was.     He may have been -- well, I don't want to
 15    sur- -- surmise.
 16                       But he was -- these two -- these two
 17    individuals were working with us to




 25            Q.         What was            response to                 ?

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  1                      MR. DYKHUIS:         Object to form.
  2                      THE WITNESS:




  6    BY MR. DAVIES:
  7             Q.       Do you recall about when that meeting with
  8                                  took place regarding


 10                      MR. DYKHUIS:         Object to the form.
 11                      THE WITNESS:         I'm going to guess around
 12         .
 13    BY MR. DAVIES:
 14             Q.       Do you recall                                   expressing
 15    any skepticism about
                                                  ?
 17                      MR. DYKHUIS:         Objection to form.
 18    BY MR. DAVIES:
 19             Q.                      .   I apologize.
 20             A.




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  8           Q.       In this meeting with                                    ,
  9    did you propose
                                                                         ?
 11                    MR. DYKHUIS:         Objection.        Form.
 12                    THE WITNESS:




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 13    BY MR. DAVIES:
 14           Q.       Was there a name for                                        --
 15                    MR. DYKHUIS:         Objection to form.
 16    BY MR. DAVIES:
 17           Q.       -- or an identifier of any kind?
 18           A.       No.
 19           Q.       For these discussions between yourself and
 20    United Therapeutics that occurred between
 21    approximately                and           , were there email
 22    communications?
 23                    MR. DYKHUIS:         Object to form.
 24                    THE WITNESS:         Oh, I'm sure we -- I'm sure
 25    we -- we have those.               Yeah.

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  1    BY MR. DAVIES:
  2           Q.       Okay.     Would you -- were there
  3    presentations that were made to United Therapeutics
  4    during that time frame?
  5           A.       Yes.
  6           Q.       Do you recall about how many?
  7           A.       So the one we gave to                                   .
  8    And then we gave one                                                        .
  9           Q.       And when about was that?
 10           A.       And, again, I'm guessing, but it would
 11    have to have been after
                                      .
 13           Q.       During all these meetings that you had
 14    with UTC, did anyone at United Therapeutics ever
 15    express any skepticism about


                                                                ?
 18                    MR. DYKHUIS:         Object to form.
 19                    THE WITNESS:




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 22    BY MR. DAVIES:
 23           Q.       Based on your discussions with
                       and others at UTC during this                           to
 25    approximately                time frame, did you understand

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  1    that they believed that


                                                                               ?
  4                    MR. DYKHUIS:         Objection to form.
  5                    THE WITNESS:             .    I think I -- I
  6    mentioned earlier that, you know, the Brigham -- the
  7    Brigham group had already put out an abstract, you
  8    know, in -- around our circa 2015.
  9                    In fact, I think that was at the ISHLT
 10    meeting in 2015.            And I remember it well because
 11    Dr. Waxman, who is actually the first author on the
 12    INCREASE study, was the -- was involved in this
 13    abstract, which was looking at patients who had
 14    Group 3 PH, both ILD and obstructive lung disease.
 15                    And that abstract, again, pointed to the
 16    safety of inhaled treprostinil -- actually, in both
 17    of these populations, again, both representing
 18    Group 3 PH, and reinforced the safety profile that I
 19    think everyone had already appreciated, even going
 20    back as far as 1999, as I mentioned earlier.
 21    BY MR. DAVIES:
 22           Q.       During this              to           time period when
 23    you were having discussions with UTC, did you
 24    propose or someone from the group at UCLA propose



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  1
  2                     MR. DYKHUIS:         Objection to form.
  3                     THE WITNESS:
  4    BY MR. DAVIES:
  5            Q.       Why did United Therapeutics, to the best
  6    of your understanding,


                                 at that time?
  9                     MR. DYKHUIS:         Object to form.
 10                     THE WITNESS:




 14    BY MR. DAVIES:
 15            Q.       Did -- in your discussions with United
 16    Therapeutics and                                       from              to
 17    about            , did they express any skepticism about
 18                                                                                  ?
 19                     MR. DYKHUIS:         Object to form.
 20                     THE WITNESS:




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 24    BY MR. DAVIES:
 25           Q.       And your understanding -- to the best of

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  1    your understanding,




  6                    Is that fair?
  7                    MR. DYKHUIS:         Objection to form.
  8                    THE WITNESS:         That's my understanding.
  9    BY MR. DAVIES:
 10           Q.       And what is that understanding based on?
 11                    MR. DYKHUIS:         Form.
 12                    THE WITNESS:         The -- that understanding is
 13    based on the fact that




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  4    BY MR. DAVIES:
  5           Q.       Do you have any understanding for why, as
  6    a business reason, United Therapeutics wanted to




 11                    MR. DYKHUIS:         Object to form.
 12                    THE WITNESS:         I don't -- I don't know if
 13    I -- I don't know I am qualified to answer that
 14    question.
 15    BY MR. DAVIES:
 16           Q.       To the best of your understanding, the
 17    reason to




 21                    Is that fair?
 22                    MR. DYKHUIS:         Objection to form.
 23                    THE WITNESS:         Oh.




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  9    BY MR. DAVIES:
 10           Q.       Did you provide electronic copies or
 11    physical documents to United Therapeutics or
 12                                as part of these meetings --
 13                    MR. DYKHUIS:          Object to form.
 14    BY MR. DAVIES:
 15           Q.       -- in           to            time period?
 16           A.       Well, as I mentioned, we --




 23                    MR. DAVIES:          Is it okay if we take a short
 24    break?
 25                    THE WITNESS:          Sure.

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  1     1                THE VIDEOGRAPHER:        The time is now

  2                                 11:54     2             a.m.     This marks the end of

       Media Number 2.

  3

  3     3   We are off the record.

  4

        4                (Brief recess.)

  5

        5                THE VIDEOGRAPHER:        All right.        The time is

  6

                                    12:08     6    now             p.m.       This marks the

  7    beginning of Media 3.

  8     7   Back on the record.

  9     8   BY MR. DAVIES:

 10     9           Q.   Welcome back, Dr. Saggar.

 11    10           A.   Thanks.

 12    11           Q.   During this 2010 to 2016 time periods, in

 13    12   the discussions with United Therapeutics that we

 14    13   have talked about, you mentioned a -- a meeting and

 15    14   discussion with                              ; is that correct?

 16    15           A.   Correct.

 17    16           Q.   And that was in approximately                    ?

 18    17                MR. DYKHUIS:       Object to form.

 19    18                THE WITNESS:       Correct.

 20    19   BY MR. DAVIES:

 21    20           Q.   You also mentioned another individual at

 22    21   UTC a                       that you spoke with.

 23    22                Could you spell his name, if you can.

 24    23           A.   Yes.

 25    24                [Witness retrieves personal item].

       25                It's                                                 .

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  1           Q.       You also mentioned an individual at
  2    United Therapeutics that you spoke with named                               ,
  3    last name                            [verbatim].
  4                    Is that --
  5           A.                            [phonetic emphasis].
  6           Q.
  7                    Is that                                     , or close
  8    enough?
  9           A.       I believe it is
 10    [confirmed spelling].
 11           Q.       Other than those three individuals, did
 12    you have discussions or meet with anyone else from
 13    United Therapeutics as part of these discussions in
 14           to          ?
 15                    MR. DYKHUIS:         Objection to form.
 16                    THE WITNESS:         Yeah, the only other people
 17    that I talked to about this was their                           who is
 18                     and                         .
 19    BY MR. DAVIES:
 20           Q.       Anyone else that you can recall?
 21           A.       No.    I think that covers it.
 22           Q.       When did you talk with                                  ?
 23                    MR. DYKHUIS:         Object to form.
 24                    THE WITNESS:         I would say during the
 25    same -- it's all within that window of time between

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  1           and probably as late as                     .
  2    BY MR. DAVIES:
  3           Q.       In those discussions with                                   ,
  4    did you suggest
               ?
  6                    MR. DYKHUIS:         Objection to form.
  7                    THE WITNESS:




 11    BY MR. DAVIES:
 12           Q.       So those discussions would have included
 13
                              ?
 15           A.
 16                    MR. DYKHUIS:         Objection to form.
 17    BY MR. DAVIES:
 18           Q.       Do you recall how many times you met with
 19    or spoke with                              ?
 20                    MR. DYKHUIS:         Object to form.
 21                    THE WITNESS:         Handful of times.            I think
 22    at least three.
 23    BY MR. DAVIES:
 24           Q.       At least three during the                      to maybe
 25           time period?

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  1           A.       Yeah.
  2           Q.       Okay.     Were there any email communications
  3    that you can recall between you and                                          ?
  4                    MR. DYKHUIS:         Object to form.
  5                    THE WITNESS:         It's possible.           But most of
  6    them were phone conversations.
  7    BY MR. DAVIES:
  8           Q.       Was                          involved in


                                      ?
 11           A.
 12           Q.       Okay.     Do you recall the general subject
 13    matter of the conversations that you had with
                     during the time                 to         ?
 15                    MR. DYKHUIS:         Objection to form.
 16                    THE WITNESS:         Well, yeah,




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 12    BY MR. DAVIES:
 13             Q.       Did you have any discussions with
                ?
 15             A.       No.    I don't know who that is.
 16             Q.       Did you have any discussions with
            ?
 18             A.       With -- with                       [verbatim], yes.




 23             Q.       Do you recall approximately when that was?
 24                      MR. DYKHUIS:         Just object to the form.
 25                      THE WITNESS:         [Witness retrieves personal

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  1    item].
  2                    One second.
  3    BY MR. DAVIES:
  4           Q.       And it's okay if you don't recall.
  5           A.




 14           Q.       Okay.
 15           A.       So I would say around                  .
 16           Q.       Was                                   , present at any
 17    of the discussions during the                         to          time
 18    period that concerned


 20                    MR. DYKHUIS:         Objection to form.
 21                    THE WITNESS:




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  9    BY MR. DAVIES:
 10           Q.       And that presentation
                   that was in about                 ?
 12                    MR. DYKHUIS:         Objection to form.
 13                    THE WITNESS:         Correct.
 14    BY MR. DAVIES:
 15           Q.       About how many participants were there
 16    from UTC at that meeting?
 17           A.       Oh, probably about ten to 12.
 18           Q.       Was                               present at that
 19    meeting?
 20           A.
 21           Q.       Was                          present?
 22           A.
 23                    MR. DYKHUIS:         Objection to form.
 24    BY MR. DAVIES:
 25           Q.       Other than the United Therapeutics

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                                                                        Page 109

  1    individuals you've identified so far, can you recall
  2    any others that were present at a meeting where you
  3    had discussions with about
                                            in the            to          time
  5    frame?
  6           A.       No.
  7           Q.       You said a couple times in your answers
  8    that "we wanted to
                                                              ."
 10                    Do you recall that?
 11           A.       Yes.
 12           Q.       When you said "we," who were you referring
 13    to?
 14           A.       So whenever I say "we," I mean our group
 15    at UCLA.
 16           Q.       And who from your group at UCLA was
 17    involved in these discussions with United
 18    Therapeutics?
 19                    MR. DYKHUIS:         Objection to form.
 20                    THE WITNESS:         Generally speaking, it was
 21    myself and my brother.
 22    BY MR. DAVIES:
 23           Q.       Anyone else?
 24           A.       Not really.
 25           Q.       At the end of your 2009 publication, you

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  1    mention that Dr. S- -- and this is in the disclosure
  2    statement.         So if you just want to look there.
  3    Still looking at the disclosure statement on the
  4    last page.
  5                    Do you see that?
  6           A.       I do.
  7           Q.       Okay.     So it mentions that -- well, it
  8    mentions the research grant that we've been talking
  9    about.
 10                    Do you see that on the disclosure
 11    statement?
 12           A.       I do.
 13           Q.       And after that, it says Dr. S Shapiro,
 14    Rajeev Saggar, Rajan Saggar -- Rajan Saggar
 15    [phonetic emphasis] -- apologies -- and D.A. Zisman,
 16    disclose that they are consultants for United
 17    Therapeutics.
 18                    Do you see that?
 19           A.       I do.
 20           Q.       Is your brother Rajeev Saggar that's
 21    identified there?
 22           A.       Yeah.     Correct.
 23           Q.       Okay.     What was the nature of your
 24    consulting work for United Therapeutics that's
 25    referred to in this disclosure statement?

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                        EXHIBIT 3
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                                                                          Page 1
              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE




   UNITED THERAPEUTICS
   CORPORATION,

                Plaintiff

   v.                                 C.A. No. 23-975 (RGA)

   LIQUIDIA TECHNOLOGIES, INC.,

                Defendant.

   ____________________________________________________

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        VIDEOTAPED DEPOSITION OF RAJEEV SAGGAR, M.D.
                   WEDNESDAY, OCTOBER 16, 2024
                               VIA ZOOM




   REPORTED BY:
   PATRICIA Y. SCHULER, CSR No. 11949
   JOB NO.: 9852


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                                                                            Page 2
 1             IN THE UNITED STATES DISTRICT COURT
 2                  FOR THE DISTRICT OF DELAWARE
 3
 4
 5   UNITED THERAPEUTICS
     CORPORATION,
 6
                  Plaintiff
 7
     v.                                 C.A. No. 23-975 (RGA)
 8
     LIQUIDIA TECHNOLOGIES, INC.,
 9
                  Defendant.
10
     ____________________________________________________
11                            __
12
13   Remote Videotaped Deposition of RAJEEV SAGGAR, M.D.,
14   taken on behalf of the Plaintiff via zoom, commencing
15   at 9:04 a.m., Wednesday, October 16, 2024, before
16   PATRICIA Y. SCHULER,        California Shorthand Reporter,
17   No. 11949.
18
19
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                                                                           Page 3
 1   APPEARANCES OF COUNSEL:
 2   ATTORNEYS FOR THE PLAINTIFFS:
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 4               BY:   ARTHUR DYKHUIS, ESQ.
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                                                                            Page 4
 1   APPEARANCES (CONTINUED);
 2   Attorneys for Defendant Liquidia Technologies, Inc.:
 3               COOLEY LLP
 4               BY:   JONATHAN DAVIES, ESQ.
 5               1299 Pennsylvania Avenue, NW, Suite 700
 6               Washington, DC 20004
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16               LIQUIDIA CORPORATION
17               BY:   RUSSELL SCHUNDLER, ESQ.
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19               Suite 100
20               Morrisville, North Carolina         27560
21
22   ALSO PRESENT:
23               Jake Thompson, videographer
24
25


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                                                                        Page 221
 1   in your pocket, as I stated.         You know, again, our
 2   Yutrepia is handheld.       It's portable.      Put it in
 3   your pocket.       That allows for substantial
 4   improvement and inconvenience.         You take it in two
 5   breaths, et cetera.       So all of those are
 6   advantageous compared to the nebulizer.
 7          Q.   Can you look at Topic 9?
 8          A.   Yes.
 9          Q.   In preparation for your testimony today
10   with respect to Topic 9, did you review regulatory
11   filings submitted as part of the Liquidia/Yutrepia
12   NDA?
13          A.   Yes, I did.
14          Q.   Did you review the amendment that was
15   submitted as part of that NDA to include the
16   indication for PH-ILD?
17          A.   Yes, I did.
18          Q.   Were you prepared to answer questions
19   about that today?
20          A.   Yes, I was.
21          Q.   Can you bring up Exhibit 8?         That was a
22   publication that we looked at earlier.
23          A.   Okay.
24               MR. DYKHUIS:     Which one, Counsel?
25               MR. DAVIES:     Exhibit 8.


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                                                                        Page 222
 1                MR. DYKHUIS:    Ah, thank you.
 2   BY MR. DAVIES:
 3         Q.     And just for clarity, Exhibit 8 is the
 4   2014 Thorax publication by Saggar, et al.
 5                Are you there, Dr. Saggar?
 6         A.     I am.
 7         Q.     Okay.    When was this publication
 8   published?
 9         A.     Well, it is published in 2014, as stated
10   down below.     However, these are e-pub'd at the time
11   of acceptance.       Around the time of acceptance.        I
12   don't know the exact date.
13         Q.     Prior to 2014, had you been using Tyvaso
14   off-label for treatment of PH-ILD?
15         A.     Yes, I was.
16         Q.     When was the first time that you can
17   recall that you used Tyvaso off-label for treatment
18   of PH-ILD?
19         A.     On or around 2010.
20         Q.     When you were using Tyvaso off-label to
21   treat PH-ILD before its approval in PH-ILD, what
22   was the dose that you would use in your patients?
23         A.     Nine to 12 breaths, four times a day.
24         Q.     So it's the same dose escalation that's
25   described in the Tyvaso label for PAH; is that


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                                                                        Page 223
 1   correct?
 2               MR. DYKHUIS:     Object to form.
 3               THE WITNESS:     Yes.    So at the time, Tyvaso
 4   was approved in Group 1 PAH.         At the time, we
 5   believed that the molecule treprostinil would be
 6   effective to treat pulmonary hypertension, whether
 7   it's Group 1 PAH or it's Group 3 PH-ILD.
 8               And so, at that time, given the
 9   understanding of how to titrate Tyvaso nebulizer,
10   which was limited, and based on that study, we
11   followed the guidance of that study to help titrate
12   the patient.
13   BY MR. DAVIES:
14         Q.    Just you personally, how many PH-ILD
15   patients do you believe you've treated off-label
16   with Tyvaso prior to Tyvaso's approval for PH-ILD?
17               MR. DYKHUIS:     Objection to form.
18               THE WITNESS:     I would have to say
19   somewhere around 80 to over 100.
20   BY MR. DAVIES:
21         Q.    During the time of this 2014 -- well,
22   strike that.
23               The -- at the time this 2014 publication
24   that is Exhibit 8 was written, where were you
25   working?


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                                                                        Page 224
 1               MR. DYKHUIS:     Object to form.
 2               THE WITNESS:     Well, I was -- when it was
 3   published, I was working at -- it's a tricky time.
 4   Hold on.    Let me job my memory.       Okay.
 5               So the question was -- sorry, can you
 6   repeat the question one more time?
 7   BY MR. DAVIES:
 8         Q.    I will withdraw the question.
 9         A.    Okay.
10         Q.    Did you ever work at UCLA?
11         A.    Yes, I did.
12         Q.    When were you at UCLA?
13         A.    2008 to 2011.     I'm sorry.     That is when I
14   was employed.       I was at UCLA in 2007 as -- in
15   training.
16         Q.    During your time at UCLA, were you aware
17   of any other physicians who were using Tyvaso
18   off-label for treatment of PH-ILD?
19               MR. DYKHUIS:     Objection to form;
20   foundation.
21               THE WITNESS:     Well, it was approved around
22   2009, so in 2010, yes, there was -- there was a team
23   of people in -- that were -- who managed the PH
24   patients, period, just the PH patients, that would
25   use Tyvaso to treat PH-ILD.        We had a very large ILD


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                                                                        Page 225
 1   program.
 2   BY MR. DAVIES:
 3           Q.   About how many doctors were part of that
 4   PH-ILD program at UCLA?
 5                MR. DYKHUIS:    Objection to form.
 6                THE WITNESS:    So we didn't have a PH-ILD
 7   program.     We had a PH program, just for clarity.
 8   And we had an ILD program.
 9                Specifically, in the PH program, there
10   was four to five attending physicians, and then the
11   constitute of fellows, which, obviously, changes
12   every three years.
13   BY MR. DAVIES:
14           Q.   Are you aware of other physicians, other
15   than yourself and others at UCLA, who were using
16   Tyvaso off-label for treatment of PH-ILD prior to
17   2020?
18                MR. DYKHUIS:    Objection to form.
19                THE WITNESS:    Oh, yes, absolutely.
20   BY MR. DAVIES:
21           Q.   And who are you aware of that was doing
22   that?
23                MR. DYKHUIS:    Form.
24                THE WITNESS:    So this is just personal
25   communications that I have had.         So, obviously, my


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                                                                        Page 226
 1   brother used it.     I'm just looking at the paper.
 2   I'm confident David Ross used it.          John Belperio has
 3   used it.    Richard Channick has used it.         Jeremy
 4   Feldman has used it.       Shelley Shapiro has used it.
 5   I know Aaron Waxman has used it.          I know Victor
 6   Tapson has used it.      I mean, off the top of my head,
 7   that is what I can recall.        I believe Paul Forfia
 8   has used it.     Angeli Vavia has used it.
 9   BY MR. DAVIES:
10         Q.    Once this paper in Exhibit 8, the 2014
11   Saggar publication was published, did you receive
12   any feedback from other clinicians in the pulmonary
13   hypertension space about this paper?
14               MR. DYKHUIS:     Objection to form.
15               THE WITNESS:     Yeah.    This was a -- we --
16   remember, prior to our paper, especially in
17   academia, it's usually -- you release sections of,
18   or if not, even early datasets of this dataset,
19   which, you know, I know I did -- I'm forgetting
20   whether my brother did -- over the -- you know,
21   dating back probably two, three years before this
22   was published, in various abstracts.
23               So this paper was a critical piece of the
24   pie that really, I think, accentuated that, yes,
25   indeed, treprostinil is a very effective molecule,


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                                                                        Page 227
 1   period, for the treatment of PH.          And to use it in
 2   PH-ILD, although there was still scepticism that
 3   parenteral is the best form of the drug because of
 4   its -- you know, you've got to -- it's infused 24
 5   hours.     It's cumbersome for patients.        It's
 6   problematic.
 7                It did highlight that, is there other
 8   routes that can showcase its potency.           And, of
 9   course, inhaled around this time was really
10   starting to gain a lot of traction, both in -- you
11   know, especially externally.
12   BY MR. DAVIES:
13         Q.     Do you recall counsel earlier asking you
14   some questions about some statements in this paper
15   related to safety?
16         A.     Yeah.   He made maybe one statement on it,
17   if I recall.
18         Q.     And do you recall your testimony
19   regarding some differences in terms of parenteral
20   as opposed to inhaled therapy with respect to those
21   statements?
22                MR. DYKHUIS:    Object to form.
23                THE WITNESS:    I am not recalling the
24   question line regarding safety, with exception of
25   the limitation section.


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                                                                        Page 228
 1   BY MR. DAVIES:
 2         Q.    And which section are you thinking of?
 3         A.    Actually, I'm not even -- I will -- just
 4   for the record, I actually don't recall anyone
 5   asking me a question regarding the safety of this
 6   very study.
 7         Q.    After -- or -- after your experience with
 8   the patients in this study, how, if at all, did it
 9   affect your use of treprostinil in the treatment of
10   PH-ILD patients?
11               MR. DYKHUIS:     Object to form.
12               THE WITNESS:     It didn't change it.        I
13   mean, we were using -- sorry.         I was using
14   treprostinil solely to treat patients with PH-ILD,
15   depending on the patient.        You know, if they were in
16   the hospital and they, you know, needed acute
17   hospitalized treatment, of course, we would use
18   Remodulin because that's what was available in the
19   hospital.     In the outpatient setting, we would use
20   parenteral Remodulin and/or Tyvaso.          I would use --
21   sorry, I would use Remodulin and/or inhaled therapy
22   Tyvaso.
23               MR. DAVIES:     Go off the record for one
24   second.
25               THE VIDEOGRAPHER:      The time is 4:36 p.m.


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                                                                       Page 229
1   We are now off the record.
2               (Recess taken.)
3               THE VIDEOGRAPHER:      The time is 4:38 p.m.
4   We are now back on the record.
5   BY MR. DAVIES:
6         Q.    Can you bring up Exhibit 9.
7         A.    Yes.




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                                                                        Page 231




20                So we wondered how effective it would
21   have been.     We didn't have that clinical strength
22   because it had just gotten approved.          But we had
23   experience with parenteral.




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 6   BY MR. DAVIES:
 7           Q.   Who is                  ?
 8           A.                   is currently still employed
 9   by United Therapeutics.       I believe       works under
10   the banner of lung biotechnology.          I think         --
11   don't quote me.       You're going to quote me.        But I
12   think        , like, VP or associate VP of clinical
13   development at lung biotech/UT.




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                                                                       Page 236
1   BY MR. DAVIES:
2         Q.


4                  By             , had you used Tyvaso in
5   PH-ILD patients?
6                  MR. DYKHUIS:     Object to form.
7                  THE WITNESS:     I can't recall when I
8   started my first patient in 2010 versus
               .




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                                                                         Page 240




12   BY MR. DAVIES:
13           Q.   Who is                   ?
14           A.             is a very nice gentleman, but
15   works for, I believe, the substrate of Lung
16   Biotechnology.           was a -- I believe right now,
17           a VP or associate VP at Lung Biotechnology for
18   clinical.     So      has been there for a very long
19   time.        was always part of clinical dev,
20   development.




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                                                                         Page 242




11   BY MR. DAVIES:
12         Q.     Why, to your knowledge, did
                     ?
14                MR. DYKHUIS:     Object to form.
15                THE WITNESS:     Again, this was when Tyvaso
16   just got -- you know, within                 of its approval
17   or so.     We had a very strong -- I'll speak to
18   myself.     I had a very -- I had a strong belief that
19   Remodulin was and is one of the best drugs that you
20   can use to treat patients with PH, irrespective of
21   their group.        As a practicing physician, that's true
22   until the day I stop practicing.
23                I think, because of that, we --


25   we kept pushing -- sorry, I keep using the word


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                                                                         Page 243
 1   "we."        I was very adamant that we should stick to
 2   what we believed in and the why behind it.




 9   BY MR. DAVIES:
10           Q.      You just said what you believed in.
11                   What was it that you believed in?
12                   MR. DYKHUIS:   Objection to form.
13                   THE WITNESS:   That treprostinil is -- that
14   when you deliver treprostinil and you can get to
15   doses that are effective, it, without a doubt, is a
16   very effective drug to treat pulmonary hypertension,
17   irrespective of the group.         In other words, Group 1
18   PH, Group 3 PH.        You can attach a group to it.        It's
19   a very effective drug.
20   BY MR. DAVIES:
21           Q.      Why did you believe that?
22                   MR. DYKHUIS:   Objection to form.
23                   THE WITNESS:   Well, I mean, I've treated a
24   few thousand patients in my career.           At that time,
25   obviously, I was younger.         And so, you know,


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                                                                         Page 244
 1   obviously, at that time -- I don't know how I had
 2   treated, but a significant number of patients.
 3               So this is just through understanding the
 4   science, understanding how pulmonary hypertension
 5   acts, understanding the mechanism of action of
 6   treprostinil, and just personal use in our program,
 7   which was -- UCLA, at that time, was a very large
 8   program.    It's considered, and still is, a center
 9   of excellence for PH.       They're a center of
10   excellence for interstitial lung disease.              They're
11   a center of excellence for transplants.           So we had
12   a wealth of patients that needed our help and
13   support.




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                                                                        Page 252
 1   today, right, but it's grown, that, you know, were
 2   in PH centers that treated these patients.             And of
 3   course, this is how, you know, interactions occur,
 4   medicine is advanced, data is shared, et cetera.
 5               MR. DYKHUIS:     Nothing else for us.        You
 6   know, again, just refer back to our previous
 7   statements in the deposition and holding it open.
 8               Anything else from your side, John?
 9               MR. DAVIES:     Nope.    And in our opinion,
10   the deposition is closed.
11               THE VIDEOGRAPHER:       Off the record?
12               MR. DYKHUIS:     Off the record.
13               MR. DAVIES:     Off the record.
14               MR. DYKHUIS:     I would like a rough.
15               MR. DAVIES:     I would like a rough.
16               THE VIDEOGRAPHER:       The time is 5:17 p.m.
17   This concludes today's deposition.          We are now off
18   the record.
19               (The videotaped deposition of
20               RAJEEV SAGGAR, M.D., concluded at
21               5:17 p.m.)
22
23
24
25


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                        EXHIBIT 4
Case 1:23-cv-00975-RGA-SRF    Document 218 Filed 11/27/24       Page 89 of 181 PageID
                                   #: 12540


                                                                         Page 1

  1       IN THE UNITED STATES DISTRICT COURT
  2       FOR THE DISTRICT OF DELAWARE
  3       ---------------------------------x
          UNITED THERAPEUTICS                                      Case No.
  4       CORPORATION,                                         23-975-RGA-SRF
  5                       Plaintiff,
  6            vs.
  7       LIQUIDIA TECHNOLOGIES, INC.,
  8                       Defendant.
          ---------------------------------x
  9
 10
 11                          *** HIGHLY CONFIDENTIAL ***
 12                       VIDEOTAPED 30(b)(6) DEPOSITION
 13                                         OF
 14                       UNITED THERAPEUTICS CORPORATION
 15                     By DEAN BUNCE, Corporate Designee
 16                             (Taken by Defendant)
 17                            Raleigh, North Carolina
 18                           Tuesday, October 29, 2024
 19
 20
 21
 22
 23
 24       Reported by Andrea L. Kingsley, RPR
 25

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                                                                         Page 2

  1                                A P P E A R A N C E S
  2
  3       ON BEHALF OF THE PLAINTIFF AND THE WITNESS:
  4                   Adam W. Burrowbridge, Esquire
                      Lillian Spetrino, Esquire
  5                   McDERMOTT WILL & EMERY LLP
                      The McDermott Building
  6                   500 North Capitol Street, NW
                      Washington, DC 20001-1531
  7                   (202)756-8797
                      aburrowbridge@mwe.com
  8                   lspetrino@mwe.com
  9
 10       ON BEHALF OF THE DEFENDANT LIQUIDIA
          TECHNOLOGIES, INC.:
 11
                              Rosalynd D. Upton, Esquire
 12                           Jonathan R. Davies
                              COOLEY LLP
 13                           1299 Pennsylvania Avenue NW
                              Washington, DC 20004
 14                           (202) 776-2094
                              rupton@cooley.com
 15                           jdavies@cooley.com
 16
 17
 18
 19
          ALSO PRESENT:
 20
          ROB PATTERSON, Videographer
 21
 22
 23
 24
 25

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                                                                       Page 20

  1       Tyvaso to treat PH-ILD that you recall?
  2             A.      Again, I'm not personally aware of any
  3       circumstances.
  4             Q.      Going down to your education, also on
  5       page 2 of your LinkedIn bio, you're a lawyer by
  6       training?
  7             A.      I am not.
  8             Q.      You're not.
  9             A.      No.
 10             Q.      It says you went to Campbell University
 11       Norman Adrian Wiggins School of Law?
 12             A.      I did.      And left after three and a half
 13       semesters.
 14             Q.      So your area of expertise is -- how
 15       would you characterize that?
 16                             MR. BURROWBRIDGE:           Object to form.
 17             A.      Regulatory affairs.
 18             Q.      You can put that document to the side,
 19       Mr. Bunce.      We're done with that.




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                                                                       Page 22

  1             Q.      Do you recall which physicians were
  2       using Tyvaso off-label for treating PH-ILD?
  3                             MR. BURROWBRIDGE:           Object to form.
  4             A.      I do not specifically, no.




 15             Q.      What is a drug safety report?
 16             A.      It's a report filed by a -- it can be
 17       filed by a patient, physician, caregiver, if they
 18       feel there's an adverse effect of our drug.




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                                                                      Page 109

  1             expedited?
  2                              THE REPORTER:          Yes.     Three days?
  3                              MR. DAVIES:         Yes.      Thank you.
  4                              THE REPORTER:          Mr. Burrowbridge, a
  5             rough and expedited?
  6                              MR. BURROWBRIDGE:             Yes, please.
  7                  (Deposition concluded at 1:00 p.m.)
  8                            (Signature reserved)
  9
 10
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                                  #: 12547




                        EXHIBIT 5
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                                    #: 12548


                                                                         Page 1

  1                       UNITED STATES DISTRICT COURT
  2                             DISTRICT OF DELAWARE
  3                                    ---0O0---
  4
  5       UNITED THERAPEUTICS
          CORPORATION,
  6
                               Plaintiff,
  7
              vs.                        CASE NO. 23955RGA
  8
          LIQUIDIA TECHNOLOGIES, INC.
  9
                               Defendants.
 10       ____________________________________________________
 11
 12                          ***HIGHLY CONFIDENTIAL***
 13         VIDEO-RECORDED DEPOSITION OF VICTOR TAPSON, M.D.
 14                           Santa Monica, California
 15                          Tuesday, November 5, 2024
 16
 17
 18
 19
 20
 21
 22
 23       Stenographically Reported by:               Ashley Soevyn,
          CALIFORNIA CSR No. 12019
 24       Job No. PA 7001696
 25       Pages 1 - 169

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                                                                         Page 2

  1                       UNITED STATES DISTRICT COURT
  2                             DISTRICT OF DELAWARE
  3                                    ---0O0---
  4
  5       UNITED THERAPEUTICS
          CORPORATION,
  6
                               Plaintiff,
  7
              vs.                        CASE NO. 23955RGA
  8
          LIQUIDIA TECHNOLOGIES, INC.
  9
                               Defendants.
 10       ____________________________________________________
 11
 12
 13
 14                          ***HIGHLY CONFIDENTIAL***
 15
 16                                   Video-recorded Deposition of
 17       VICTOR TAPSON, M.D., taken on behalf of the
 18       Defendants Liquidia Technologies, Inc., Pursuant to
 19       Notice, at the offices of Goodwin Procter, 520
 20       Broadway, Santa Monica, California beginning at
 21       9:59 a.m.     and ending at 1:45 p.m. on Tuesday,
 22       November 5, 2024, before me, ASHLEY SOEVYN,
 23       Certified Shorthand Reporter No. 12019.
 24
 25

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                                     #: 12550


                                                                         Page 3

  1       A P P E A R A N C E S:
  2       For the Plaintiff:
  3                      GOODWIN PROCTER LLP
  4                      BY:     ERIC T. ROMEO
  5                      BY:     HARRISON GUNN
  6                      Attorneys at Law
  7                      100 Northern Avenue
  8                      Boston, Massachusetts 02210
  9                      eromeo@goodwinlaw.com
 10                      hgunn@goodwinlaw.com
 11                      (617) 570-8145
 12
 13       For the Defendants Liquidia Technologies, Inc.:
 14                      COOLEY LLP
 15                      BY:     SANYA SUKDUANG
 16                      BY:     RACHEL PRESTON
 17                      Attorneys at Law
 18                      1299 Pennsylvania Avenue
 19                      NW STE. 700
 20                      Washington, D.C. 20221
 21                      ssukduang@cooley.com
 22                      rpreston@cooley.com
 23                      (202) 842-7800
 24       Also Present:
 25       Jonathan Hernandez, Videographer

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                                                                       Page 62

  1       any other parameter that says the patient has to
  2       have this in order to take Tyvaso® for PH-ILD.
  3               A     Not on the prescribing information, no.
  4               Q     Now, if you look at maintenance dosage in
  5       Exhibit 2, the 2021 version, it allows you to go to
  6       a higher dose than the original label in 2009,
  7       correct?
  8               A     Correct.
  9               Q     And if you took the original label -- if
 10       you need to look, was up to nine breaths according
 11       to the label?
 12               A     Yes.
 13               Q     And now this 2021 version allows you to
 14       go to 12 breaths, correct?
 15               A     Yes.
 16               Q     And so while the original label let you
 17       go up to approximately 216 micrograms per day, the
 18       revised label now lets you go up to at least 288
 19       micrograms per day?
 20                     MR. ROMEO:        Object to form.
 21                     THE WITNESS:         I will take your word for
 22       it on the math.
 23       BY MR. SUKDUANG:
 24               Q     My math might be wrong, but at the very
 25       least, it allows you to go higher than the 216 on

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                                                                       Page 63

  1       the original label, correct?
  2                A     Yes.
  3                Q     And was that based on PAH studies, or was
  4       that based on the INCREASE trial?
  5                      MR. ROMEO:       Object to form.
  6       BY MR. SUKDUANG:
  7                Q     To the extent you recall.
  8                A     I don't recall.
  9                      MR. SUKDUANG:         Okay.     Why don't we take a
 10       break?
 11                      THE WITNESS:        Sure.
 12                      THE VIDEOGRAPHER:           We are going off the
 13       record.      The time is 11:03 a.m.
 14                      (Recess.)
 15                      THE VIDEOGRAPHER:           We're back on the
 16       record.      The time is 11:16 a.m.
 17       BY MR. SUKDUANG:
 18                Q     Welcome back, Dr. Tapson.
 19                A     Thank you.
 20                Q     During the break, did you discuss the
 21       substance of your testimony with counsel?
 22                A     No.     I did not.
 23                Q     Back when you were at Duke, you had
 24       mentioned that the treprostinil products were
 25       expensive.      How when you were prescribing Tyvaso®

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                                                                       Page 64

  1       for PH-ILD patients, how did you prescribe it such
  2       that it would be reimbursed to the patient?
  3                     MR. ROMEO:        Object to form.
  4                     THE WITNESS:         Well, all the PH products
  5       are expensive.        But fortunately I had a good clinic
  6       nurse that would handle all that.                 But if someone
  7       had pulmonary hypertension and ILD and had very
  8       severe pulmonary hypertension, this could easily be
  9       considered, and what we felt was PH in the setting
 10       of ILD or it was hard to distinguish from
 11       ILD-causing PH or being coincidence.                   So we didn't
 12       really have difficulty.            We didn't do it that often
 13       because we didn't have, you know, a lot of data but
 14       when we did it and felt we needed to, we could get
 15       it reimbursed.
 16       BY MR. SUKDUANG:
 17               Q     You had mentioned while you were at Duke,
 18       you couldn't recall about how many patients you had
 19       on Tyvaso® PH-ILD.          Do you recall now about how many
 20       patients you may have had?
 21               A     I really don't know, no.               I'm sorry.
 22               Q     When you moved over to Cedars, in terms
 23       of reimbursement, was there any difficult in getting
 24       Tyvaso® reimbursed for PH-ILD patients?
 25               A     I don't recall difficulty.

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  1                     MR. ROMEO:        Object to form.
  2       BY MR. SUKDUANG:
  3               Q     You had mentioned while you were at Duke
  4       and also at Cedars that some of the patients with
  5       PH-ILD taking Tyvaso® you did stop for various
  6       reasons, and certain patients they were able to
  7       continue on Tyvaso® with PH-ILD.                 Is that fair?
  8                     MR. ROMEO:        Object to form.
  9                     THE WITNESS:         Yes.
 10       BY MR. SUKDUANG:
 11               Q     With the patient that both at Duke and
 12       Cedars that were able to -- let me start over.                      With
 13       respect to the PH-ILD patients at Duke and Cedars
 14       that were able to continue on Tyvaso® for their
 15       treatment, did you see improvements in their
 16       exercise capacity?
 17                     MR. ROMEO:        Object to form.
 18                     THE WITNESS:         I mean, I don't really
 19       recall specific cases.            But in some cases, I know we
 20       did.
 21       BY MR. SUKDUANG:
 22               Q     Okay.      What about reducing the time that
 23       they might have had to go to hospital.                   Would
 24       Tyvaso® help reduce that clinical worsening of
 25       hospitalization?

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                                   #: 12556




                         EXHIBIT 6
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From:               Habibi, John A
Sent:               Friday, October 18, 2024 4:05 PM
To:                 Pappas, Katherine; McDermott, Sydney; Dykhuis, Art; Vallen, Jake; Burrowbridge, Adam;
                    WJackson@goodwinlaw.com; mflynn@morrisnichols.com; Carsten, Douglas
Cc:                 z/Liquidia v UTC 308970-201; UTCvLiquidia-Del-23cv975@mwe.com; DG-ILD@goodwinlaw.com
Subject:            UTC v. Liquidia (23-975) - UTC's Document Production Deficiencies


Counsel,

During the depositions of Drs. Rajan and Rajeev Saggar they identified multiple communications and meetings
between themselves and United Therapeutics regarding the use of treprostinil to treat PH-ILD before the approval
of Tyvaso in PH-ILD.




These communications and documents are directly responsive to at least the following RFPs. Please immediately
produce all such responsive communications and documents.

   •    RFP 21: All communications between UTC and Rajeev Saggar M.D. and Rajan Saggar M.D. regarding the
        use or potential use of inhaled treprostinil, including TYVASO®, in patients with pulmonary hypertension
        associated with interstitial lung disease.

   •    RFP 26: All communications between UTC and the authors of Rajeev Saggar et al., Changes in right heart
        haemodynamics and echocardiographic function in an advanced phenotype of pulmonary hypertension
        and right heart dysfunction associated with pulmonary fibrosis, 69 THORAX 123 (2014) (LIQ_PH-
        ILD_00000226), regarding the use or potential use of inhaled treprostinil, including TYVASO®, for the
        treatment of pulmonary hypertension associated with interstitial lung disease.

   •    RFP 27: All documents and communications regarding UTC’s decision to fund of the study described in
        Rajeev Saggar et al., Changes in right heart haemodynamics and echocardiographic function in an


                                                         1
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          advanced phenotype of pulmonary hypertension and right heart dysfunction associated with pulmonary
          fibrosis, 69 THORAX 123 (2014) (LIQ_PH-ILD_00000226)

     •    RFP 40: All documents and things concerning the research, development, and/or testing of treprostinil for
          its effect in patients with pulmonary hypertension associated with interstitial lung disease, including but
          not limited to any correspondence, research proposals, or protocols relating to treprostinil.

     •    RFP 43: All documents and things related to NDA No. 022387 for TYVASO®, including without limitation the
          complete file of NDA No. 022387 for TYVASO®, communications with the FDA, and any supplemental
          applications and/or amendments thereto, including, but not limited to, all investigational new drug (“IND”)
          applications, regardless of whether they were filed with the FDA.

     •    RFP 44: All documents and things related to NDA No. 214324 for TYVASO DPI®, including without limitation
          the complete file of NDA No. 214324 for TYVASO DPI®, communications with the FDA, and any
          supplemental applications and/or amendments thereto, including, but not limited to investigational new
          drug (“IND”) applications, regardless of whether they were filed with the FDA.

Regards,
John Habibi

John Habibi
Cooley LLP
1299 Pennsylvania Avenue, NW, Suite 700
(enter from 12th and E Streets)
Washington, DC 20004-2400
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                         EXHIBIT 7
    Case 1:23-cv-00975-RGA-SRF               Document 218 Filed 11/27/24               Page 109 of 181 PageID
                                                   #: 12560

Diaz, Larissa Michelle

From:               Upton, Rozzi D
Sent:               Thursday, October 31, 2024 8:57 PM
To:                 Dykhuis, Art; McDermott, Sydney; Pappas, Katherine; Vallen, Jake; Burrowbridge, Adam; Carsten,
                    Douglas; WJackson@goodwinlaw.com; Flynn, Michael J.
Cc:                 z/Liquidia v UTC 308970-201; DG-ILD; UTCvLiquidia-Del-23cv975
Subject:            UTC v. Liquidia: Follow-up on Bunce deposition


Counsel,

UTC identified Mr. Dean Bunce in its initial disclosures and its first amended initial disclosures as knowledgeable
about “NDA Nos. 22387, 22387/S-017, and 214324; development and regulatory approval of TYVASO® and
TYVASO DPI®” and further identified Mr. Bunce for 30(b)(6) Topic 21:

        The factual basis for the following statements made by Martine A. Rothblatt during UTC’s FQ1 2018 Earnings
        Call concerning the use of Tyvaso®: “both through the eƯort of our medical aƯairs group over the years in
        supporting investigator-sponsored studies and through the kindness and generosity of certain payers
        around the country who have gone ahead and upon the initiative of their physicians, were able to enable
        some WHO Group III patients to benefit, there were unmistakable signals the some of the leading physicians
        in this field. I called out one of them on the call, Dr. Waxman, but there are many others, who said to UT,
        ‘This drug works.’ In fact, they believe that this drug works even better in that indication than in the Group I
        indication in terms of, at least, the exercise ability that they saw in their patients, discounting any placebo
        eƯects that might be involved. So with that kind of data, some of which has been presented in posters and
        maybe even publications -- I don't know, but I've definitely seen posters, we went ahead and then had the
        statistics to power of the study for statistical significance, the one in the ILD population and the other in the
        COPD population, which are 2 distinct populations.” LIQ_PHILD_00000001 at 10.

See Counsel’s October 24 email “UTC v. Liquidia (23-975) - Deposition dates for witnesses.”

However, it was clear from Mr. Bunce’s October 29, 2024 deposition that he was insuƯiciently prepared for this
subject matter, and thus we repeat our request to depose Dr. Martine Rothblatt. We expressly raised our objection
to Mr. Bunce’s lack of preparedness during his deposition after testimony repeatedly confirming his lack of
familiarity and knowledge on this subject matter, including Mr. Bunce’s
                                                                                         See Bunce Tr. at 8:8-19;
see also id. at 48:13-19.
                                 See, e.g., id. at 32:14-33:19; 35:2-36:17; 41:13-22; 43:4-14; 44:10-45:7; 54:16-
55:4; 56:8-17.


We specifically request the deposition of Dr. Rothblatt.

Separately, Liquidia requests that UTC produce the following documents
         :




                                                           1
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                                                 #: 12561

                                                                   If we are incorrect, please identify where
         these specific documents are located within UTC’s production.

Thank you,

Rozzi Upton, JD PhD
Cooley LLP
1299 Pennsylvania Avenue, NW, Suite 700
Washington, DC 20004-2400
+1 202 776 2094 office
+1 202 842 7899 fax
rupton@cooley.com




                                                         2
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                         EXHIBIT 8
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                                   #: 12563




                     REDACTED




                                  REDACTED




                                                                       _PH-ILD_000005
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                                   #: 12564




                                   REDACTED




                                                                       _PH-ILD_000006
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                                   #: 12565




                                                                       _PH-ILD_000007
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                                                                       _PH-ILD_000008
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                                   #: 12567




                         EXHIBIT 9
Case 1:23-cv-00975-RGA-SRF   Document 218 Filed 11/27/24   Page 117 of 181 PageID
                                   #: 12568



                                REDACTED




                                                                       _PH-ILD_000009
Case 1:23-cv-00975-RGA-SRF   Document 218 Filed 11/27/24   Page 118 of 181 PageID
                                   #: 12569


                                REDACTED




                                                                       _PH-ILD_000010
Case 1:23-cv-00975-RGA-SRF   Document 218 Filed 11/27/24   Page 119 of 181 PageID
                                   #: 12570




                                                                       _PH-ILD_000011
Case 1:23-cv-00975-RGA-SRF   Document 218 Filed 11/27/24   Page 120 of 181 PageID
                                   #: 12571




                       EXHIBIT 10
Case 1:23-cv-00975-RGA-SRF      Document 218 Filed 11/27/24   Page 121 of 181 PageID
                                      #: 12572




                     REDACTED




                                                                          _PH-ILD_000012
Case 1:23-cv-00975-RGA-SRF   Document 218 Filed 11/27/24   Page 122 of 181 PageID
                                   #: 12573




                                 REDACTED




                      REDACTED




                                                                       _PH-ILD_000013
Case 1:23-cv-00975-RGA-SRF   Document 218 Filed 11/27/24   Page 123 of 181 PageID
                                   #: 12574




                                                                       _PH-ILD_000014
Case 1:23-cv-00975-RGA-SRF   Document 218 Filed 11/27/24   Page 124 of 181 PageID
                                   #: 12575




                  REDACTED




                                            REDACTED




                                                                       _PH-ILD_000015
Case 1:23-cv-00975-RGA-SRF   Document 218 Filed 11/27/24   Page 125 of 181 PageID
                                   #: 12576




                       EXHIBIT 11
Case 1:23-cv-00975-RGA-SRF   Document 218 Filed 11/27/24   Page 126 of 181 PageID
                                   #: 12577




           REDACTED




                                                       REDACT
                                                         ED
                                          REDACTED




                                                                       _PH-ILD_000020
Case 1:23-cv-00975-RGA-SRF   Document 218 Filed 11/27/24   Page 127 of 181 PageID
                                   #: 12578




                       EXHIBIT 12
Case 1:23-cv-00975-RGA-SRF    Document 218 Filed 11/27/24   Page 128 of 181 PageID
                                    #: 12579




                              REDACTED




                             REDACTED

                                               REDACT
                                                 ED




                                                                        _PH-ILD_000021
Case 1:23-cv-00975-RGA-SRF   Document 218 Filed 11/27/24   Page 129 of 181 PageID
                                   #: 12580




                         REDACTED




                                       REDACTED




                                                                       _PH-ILD_000022
Case 1:23-cv-00975-RGA-SRF   Document 218 Filed 11/27/24   Page 130 of 181 PageID
                                   #: 12581




                                                                       _PH-ILD_000023
Case 1:23-cv-00975-RGA-SRF   Document 218 Filed 11/27/24   Page 131 of 181 PageID
                                   #: 12582




                       EXHIBIT 13
Case 1:23-cv-00975-RGA-SRF     Document 218 Filed 11/27/24   Page 132 of 181 PageID
                                     #: 12583




                    REDACTED




                                                                         _PH-ILD_000024
Case 1:23-cv-00975-RGA-SRF   Document 218 Filed 11/27/24   Page 133 of 181 PageID
                                   #: 12584




                       EXHIBIT 14
     Case 1:23-cv-00975-RGA-SRF                    Document 218 Filed 11/27/24              Page 134 of 181 PageID
                                                         #: 12585



From:                      Preston, Rachel L
Sent:                      Tuesday, October 29, 2024 11:24 AM
To:                        Dykhuis, Art; McDermott, Sydney; Pappas, Katherine; Vallen, Jake; Burrowbridge, Adam; Carsten,
                           Douglas; WJackson@goodwinlaw.com; mflynn@morrisnichols.com
Cc:                        z/Liquidia v UTC 308970-201; DG-ILD; UTCvLiquidia-Del-23cv975
Subject:                   UTC v. Liquidia (23-975) - 10/23 M&C follow-up and Saggar production


Counsel,

UTC’s recent production, under the Rajan_Saggar bates prefix, conclusively established that UTC has been
withholding highly material documents falling squarely within Liquidia’s RFPs, served on May 16, 2024, including
at least RFPs 21, 26, 27, 40, 43, and 44, which we recently discussed during the parties’ October 23, 2024 meet
and confer.


                                               These documents are unquestionably relevant and must be
produced. Art indicated during the meet and confer that UTC is considering Liquidia’s RFPs and positions. Please
provide a response this week, otherwise we intend to bring this issue to the Court.

Further, Art indicated that UTC would be producing Saggar and Faria-Urbina transcripts identifying the information
deemed by UTC to be Highly Confidential. This issue has been pending for a month. Please provide those
transcripts and any agreement UTC intends to rely on to substantiate its claims of confidentiality this week.

Regards,
Rachel

Rachel Preston
Cooley LLP
1299 Pennsylvania Avenue, NW, Suite 700
Washington, DC 20004-2400
+1 202 776 2315 office
rpreston@cooley.com
Pronouns: She, Her, Hers

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                                                                 1
Case 1:23-cv-00975-RGA-SRF   Document 218 Filed 11/27/24   Page 135 of 181 PageID
                                   #: 12586




                       EXHIBIT 15
    Case 1:23-cv-00975-RGA-SRF            Document 218 Filed 11/27/24              Page 136 of 181 PageID
                                                #: 12587



From:             Dykhuis, Art <Adykhuis@mwe.com>
Sent:             Wednesday, October 30, 2024 1:21 PM
To:               Preston, Rachel L; McDermott, Sydney; Pappas, Katherine; Vallen, Jake; Burrowbridge, Adam; Carsten,
                  Douglas; WJackson@goodwinlaw.com; mflynn@morrisnichols.com
Cc:               z/Liquidia v UTC 308970-201; DG-ILD; UTCvLiquidia-Del-23cv975
Subject:          Re: UTC v. Liquidia (23-975) - 10/23 M&C follow-up and Saggar production


[External]

Rachel,

Your email is wrong in several ways. First, your use of “UTC’s production” to refer to documents that you
know were produced by Rajan Saggar—a third party—is misleading and incorrect. Indeed, it’s telling that
you did not respond to the transmittal email, which said (highlighting added):

        “Attached please find documents produced by Dr. Rajan Saggar bearing production numbers
        RAJAN_SAGGAR_PH-ILD_000001 - RAJAN_SAGGAR_PH-ILD_000024. UTC has applied the Bates
        numbering and confidentiality designations to the documents that Dr. Saggar produced. UTC has
        not made any other changes to the documents.”

Relatedly, please promptly confirm whether Dr. Saggar has produced any documents to Liquidia and if
so, provide them to UTC immediately.

Second, it is incorrect to say that anything has “conclusively established that UTC has been withholding
highly material documents falling squarely within Liquidia’s RFPs.” During the meet and confer process,
the parties are supposed to consider the other party’s positions. And we have done that. But I was clear
on the meet and confer that we have already collected millions of documents, and reviewed and
produced, subject to UTC’s objections, all responsive communications to/from/cc either Saggar brother
within the files of the custodians we collected from. I also noted on our call that UTC disclosed its list of
document custodians to Liquidia months ago (on April 5, 2024), and Liquidia never objected. If Liquidia
wanted UTC to search the records of additional document custodians, it should have made this request
months ago, not two weeks before the close of fact discovery. As we have explained, we have conducted
a reasonable search, review, and production of UTC’s documents.

Liquidia nevertheless appears to be insisting that UTC conduct additional document collections, from
multiple new custodians—possibly eight or more. UTC will not do that at this stage.

Regarding the Saggar and Faria-Urbina transcripts, it seems clear that this is an attempt to pressure and
distract UTC rather than any true interest in the transcripts’ designation. In any event, we will respond to
you separately regarding those transcripts.




                                                        1
      Case 1:23-cv-00975-RGA-SRF        Document 218 Filed 11/27/24 Page 137 of 181 PageID
                                               #: 12588
From: Preston, Rachel L <RPreston@cooley.com>
Date: Tuesday, October 29, 2024 at 8:24 AM
To: Dykhuis, Art <Adykhuis@mwe.com>, McDermott, Sydney <Smcdermott@mwe.com>, Pappas,
Katherine <Kpappas@mwe.com>, Vallen, Jake <Jvallen@mwe.com>, Burrowbridge, Adam
<Aburrowbridge@mwe.com>, Carsten, Douglas <Dcarsten@mwe.com>, WJackson@goodwinlaw.com
<WJackson@goodwinlaw.com>, mflynn@morrisnichols.com <mflynn@morrisnichols.com>
Cc: z/Liquidia v UTC 308970-201 <zLiquidiavUTC308970201@cooley.com>, DG-ILD <DG-
ILD@goodwinlaw.com>, UTCvLiquidia-Del-23cv975 <UTCvLiquidia-Del-23cv975@mwe.com>
Subject: UTC v. Liquidia (23-975) - 10/23 M&C follow-up and Saggar production

[ External Email ]
Counsel,

UTC’s recent production, under the Rajan_Saggar bates prefix, conclusively established that UTC has been
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and confer.


                                               These documents are unquestionably relevant and must be
produced. Art indicated during the meet and confer that UTC is considering Liquidia’s RFPs and positions. Please
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Further, Art indicated that UTC would be producing Saggar and Faria-Urbina transcripts identifying the information
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Regards,
Rachel

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rpreston@cooley.com
Pronouns: She, Her, Hers

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                                                                                   2
    Case 1:23-cv-00975-RGA-SRF                Document 218 Filed 11/27/24                 Page 138 of 181 PageID
                                                    #: 12589
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provided or made available to us. Thank you.
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Case 1:23-cv-00975-RGA-SRF   Document 218 Filed 11/27/24   Page 139 of 181 PageID
                                   #: 12590




                       EXHIBIT 16
       Case 1:23-cv-00975-RGA-SRF           Document 218 Filed 11/27/24              Page 140 of 181 PageID
                                                  #: 12591



From:               Preston, Rachel L
Sent:               Thursday, October 31, 2024 5:25 PM
To:                 Dykhuis, Art; McDermott, Sydney; Pappas, Katherine; Vallen, Jake; Burrowbridge, Adam; Carsten,
                    Douglas; WJackson@goodwinlaw.com; mflynn@morrisnichols.com
Cc:                 z/Liquidia v UTC 308970-201; DG-ILD; UTCvLiquidia-Del-23cv975
Subject:            RE: UTC v. Liquidia (23-975) - 10/23 M&C follow-up and Saggar production


Art,

Thank you for confirming that the documents were produced by Dr. Rajan Saggar, and not UTC. This further
establishes that UTC has not complied with its discovery obligations because it did not produce these highly
material communications from its own files. We will be producing, shortly, documents Dr. Rajan Saggar provided
to Liquidia pursuant to its subpoena.

Because UTC has confirmed it will not search for, collect or produce additional documents responsive to these
RFPs, the November 8th Laliberte deposition will need to be postponed and rescheduled for a later date once the
Court resolves this dispute. That you identified custodians months ago is of no moment for several reasons. First,
as we repeatedly raised, despite naming custodians months ago, UTC only began producing custodial documents
after Oct 8. Second, because UTC did not produce the documents responsive to Liquidia’s RFPs and Liquidia only
learned of these new individuals after taking a deposition of a 3rd party, Liquidia had the right to seek these
documents from these relevant individuals, which already fell within the scope of the RFPs. Finally, UTC identified
several new individuals, including Laliberte, as having relevant information on October 16, and we have
immediately sought responsive custodial documents. UTC has steadfastly refused.

The parties have already conferred on these RFPs several times and we will notify the Court of the dispute.

Regards,
Rachel



From: Dykhuis, Art <Adykhuis@mwe.com>
Sent: Wednesday, October 30, 2024 1:21 PM
To: Preston, Rachel L <RPreston@cooley.com>; McDermott, Sydney <Smcdermott@mwe.com>; Pappas, Katherine
<Kpappas@mwe.com>; Vallen, Jake <Jvallen@mwe.com>; Burrowbridge, Adam <Aburrowbridge@mwe.com>; Carsten,
Douglas <Dcarsten@mwe.com>; WJackson@goodwinlaw.com; mflynn@morrisnichols.com
Cc: z/Liquidia v UTC 308970-201 <zLiquidiavUTC308970201@cooley.com>; DG-ILD <DG-ILD@goodwinlaw.com>;
UTCvLiquidia-Del-23cv975 <UTCvLiquidia-Del-23cv975@mwe.com>
Subject: Re: UTC v. Liquidia (23-975) - 10/23 M&C follow-up and Saggar production

[External]

Rachel,

Your email is wrong in several ways. First, your use of “UTC’s production” to refer to documents that you
know were produced by Rajan Saggar—a third party—is misleading and incorrect. Indeed, it’s telling that
you did not respond to the transmittal email, which said (highlighting added):


                                                          1
    Case 1:23-cv-00975-RGA-SRF        Document 218 Filed 11/27/24 Page 141 of 181 PageID
                                               #: 12592
       “Attached please find documents produced by Dr. Rajan Saggar bearing production numbers
       RAJAN_SAGGAR_PH-ILD_000001 - RAJAN_SAGGAR_PH-ILD_000024. UTC has applied the Bates
       numbering and confidentiality designations to the documents that Dr. Saggar produced. UTC has
       not made any other changes to the documents.”

Relatedly, please promptly confirm whether Dr. Saggar has produced any documents to Liquidia and if
so, provide them to UTC immediately.

Second, it is incorrect to say that anything has “conclusively established that UTC has been withholding
highly material documents falling squarely within Liquidia’s RFPs.” During the meet and confer process,
the parties are supposed to consider the other party’s positions. And we have done that. But I was clear
on the meet and confer that we have already collected millions of documents, and reviewed and
produced, subject to UTC’s objections, all responsive communications to/from/cc either Saggar brother
within the files of the custodians we collected from. I also noted on our call that UTC disclosed its list of
document custodians to Liquidia months ago (on April 5, 2024), and Liquidia never objected. If Liquidia
wanted UTC to search the records of additional document custodians, it should have made this request
months ago, not two weeks before the close of fact discovery. As we have explained, we have conducted
a reasonable search, review, and production of UTC’s documents.

Liquidia nevertheless appears to be insisting that UTC conduct additional document collections, from
multiple new custodians—possibly eight or more. UTC will not do that at this stage.

Regarding the Saggar and Faria-Urbina transcripts, it seems clear that this is an attempt to pressure and
distract UTC rather than any true interest in the transcripts’ designation. In any event, we will respond to
you separately regarding those transcripts.




From: Preston, Rachel L <RPreston@cooley.com>
Date: Tuesday, October 29, 2024 at 8:24 AM
To: Dykhuis, Art <Adykhuis@mwe.com>, McDermott, Sydney <Smcdermott@mwe.com>, Pappas,
Katherine <Kpappas@mwe.com>, Vallen, Jake <Jvallen@mwe.com>, Burrowbridge, Adam
<Aburrowbridge@mwe.com>, Carsten, Douglas <Dcarsten@mwe.com>, WJackson@goodwinlaw.com
<WJackson@goodwinlaw.com>, mflynn@morrisnichols.com <mflynn@morrisnichols.com>
Cc: z/Liquidia v UTC 308970-201 <zLiquidiavUTC308970201@cooley.com>, DG-ILD <DG-
ILD@goodwinlaw.com>, UTCvLiquidia-Del-23cv975 <UTCvLiquidia-Del-23cv975@mwe.com>
Subject: UTC v. Liquidia (23-975) - 10/23 M&C follow-up and Saggar production

[ External Email ]
Counsel,

UTC’s recent production, under the Rajan_Saggar bates prefix, conclusively established that UTC has been
withholding highly material documents falling squarely within Liquidia’s RFPs, served on May 16, 2024, including
at least RFPs 21, 26, 27, 40, 43, and 44, which we recently discussed during the parties’ October 23, 2024 meet
and confer.


                                               These documents are unquestionably relevant and must be
                                                        2
      Case 1:23-cv-00975-RGA-SRF                               Document 218 Filed 11/27/24                               Page 142 of 181 PageID
                                                                     #: 12593
produced. Art indicated during the meet and confer that UTC is considering Liquidia’s RFPs and positions. Please
provide a response this week, otherwise we intend to bring this issue to the Court.

Further, Art indicated that UTC would be producing Saggar and Faria-Urbina transcripts identifying the information
deemed by UTC to be Highly Confidential. This issue has been pending for a month. Please provide those
transcripts and any agreement UTC intends to rely on to substantiate its claims of confidentiality this week.

Regards,
Rachel

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rpreston@cooley.com
Pronouns: She, Her, Hers

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provided or made available to us. Thank you.
*******************************************************************************************************************

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Case 1:23-cv-00975-RGA-SRF   Document 218 Filed 11/27/24   Page 143 of 181 PageID
                                   #: 12594




                       EXHIBIT 17
    Case 1:23-cv-00975-RGA-SRF                Document 218 Filed 11/27/24                Page 144 of 181 PageID
                                                    #: 12595



From:                McDermott, Sydney <Smcdermott@mwe.com>
Sent:                Sunday, November 3, 2024 7:30 AM
To:                  Preston, Rachel L; Dykhuis, Art; Pappas, Katherine; Vallen, Jake; Burrowbridge, Adam; Carsten,
                     Douglas; WJackson@goodwinlaw.com; mflynn@morrisnichols.com
Cc:                  z/Liquidia v UTC 308970-201; DG-ILD; UTCvLiquidia-Del-23cv975
Subject:             RE: UTC v. Liquidia (23-975) - 10/23 M&C follow-up and Saggar production


[External]

Counsel,

For the third time, Liquidia refuses to take a previously scheduled and agreed-to deposition, with little notice and
without reasonable justification. Liquidia’s pattern of demanding last-minute postponements of depositions to
manufacture discovery disputes is unacceptable, baseless, and highly prejudicial to both UTC and its witnesses. Mr.
Laliberte is a third-party witness not employed by UTC, and Liquidia has not provided any reason that would justify the
considerable burden involved with moving his deposition at this late stage. UTC therefore will not agree to postpone
Mr. Laliberte’s deposition. Consistent with the parties’ prior agreement, UTC will make Mr. Laliberte available for
deposition in Raleigh on November 8 and on no other date. We expect to see you there.

Liquidia’s unilateral demand to postpone Mr. Laliberte’s deposition is particularly egregious given that Liquidia had
accepted the date for the deposition just three days earlier on October 28. See 10/28/2024 email from R. Preston. This
acceptance came nearly six weeks after
                                             . Further, as of October 28, UTC had produced over 3,500 documents
bearing Mr. Laliberte’s name, the vast majority of which were produced prior to August 14. Moreover, UTC had already
informed Liquidia on October 21 that it had no plans to collect documents from additional custodians—including Mr.
Laliberte—and that Liquidia’s request for such a collection and production was both untimely and unduly
burdensome. See 10/21/2024 email from K. Pappas. Liquidia nevertheless requested a deposition date for Mr. Laliberte
that same day, and UTC quickly responded that Mr. Laliberte would be available on November 8. See 10/21/2024 email
from R. Preston; 10/22/2024 email from S. McDermott. In short, Liquidia had more than enough information to decide
whether it would proceed with Mr. Laliberte’s deposition as offered. If Liquidia somehow felt that the thousands of
documents UTC had already produced with Mr. Laliberte’s name on them were insufficient to depose him on November
8, it had every opportunity not to agree to that date. Yet, on October 28, Liquidia did agree, and both UTC and Mr.
Laliberte relied on that representation to make arrangements for his deposition. Liquidia has offered no reasonable
explanation as to why it was apparently prepared to depose Mr. Laliberte on October 28 but was unprepared to do so
three days later on October 31.

Liquidia’s demand to postpone and reschedule Mr. Laliberte’s deposition is unjustifiable, unfounded, and profoundly
inconsiderate. UTC will make Mr. Laliberte available for deposition as originally agreed on November 8 at Brooks Pierce
in Raleigh, North Carolina. Should Liquidia decline to attend and unilaterally cancel Mr. Laliberte’s deposition pursuant
to L.R. 30.2 by raising a discovery dispute, UTC will not offer Mr. Laliberte for deposition at a later date absent a court
order requiring same.

We look forward to your attendance at Mr. Laliberte’s deposition. Please confirm your attendee list at your earliest
convenience so that we may provide such to building security.

Thank you,



                                                             1
       Case 1:23-cv-00975-RGA-SRF            Document 218 Filed 11/27/24                Page 145 of 181 PageID
                                                   #: 12596
SYDNEY MCDERMOTT (SHE/HER/HERS)
Associate
McDermott Will & Emery LLP The McDermott Building, 500 North Capitol Street, NW, Washington, DC 20001-1531
Tel +1 202 756 8045 Email smcdermott@mwe.com
Website | vCard | LinkedIn



From: Preston, Rachel L <RPreston@cooley.com>
Sent: Thursday, October 31, 2024 5:25 PM
To: Dykhuis, Art <Adykhuis@mwe.com>; McDermott, Sydney <Smcdermott@mwe.com>; Pappas, Katherine
<Kpappas@mwe.com>; Vallen, Jake <Jvallen@mwe.com>; Burrowbridge, Adam <Aburrowbridge@mwe.com>; Carsten,
Douglas <Dcarsten@mwe.com>; WJackson@goodwinlaw.com; mflynn@morrisnichols.com
Cc: z/Liquidia v UTC 308970-201 <zLiquidiavUTC308970201@cooley.com>; DG-ILD <DG-ILD@goodwinlaw.com>;
UTCvLiquidia-Del-23cv975 <UTCvLiquidia-Del-23cv975@mwe.com>
Subject: RE: UTC v. Liquidia (23-975) - 10/23 M&C follow-up and Saggar production

[ External Email ]
Art,

Thank you for confirming that the documents were produced by Dr. Rajan Saggar, and not UTC. This further
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material communications from its own files. We will be producing, shortly, documents Dr. Rajan Saggar provided
to Liquidia pursuant to its subpoena.

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Court resolves this dispute. That you identified custodians months ago is of no moment for several reasons. First,
as we repeatedly raised, despite naming custodians months ago, UTC only began producing custodial documents
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The parties have already conferred on these RFPs several times and we will notify the Court of the dispute.

Regards,
Rachel



From: Dykhuis, Art <Adykhuis@mwe.com>
Sent: Wednesday, October 30, 2024 1:21 PM
To: Preston, Rachel L <RPreston@cooley.com>; McDermott, Sydney <Smcdermott@mwe.com>; Pappas, Katherine
<Kpappas@mwe.com>; Vallen, Jake <Jvallen@mwe.com>; Burrowbridge, Adam <Aburrowbridge@mwe.com>; Carsten,
Douglas <Dcarsten@mwe.com>; WJackson@goodwinlaw.com; mflynn@morrisnichols.com
Cc: z/Liquidia v UTC 308970-201 <zLiquidiavUTC308970201@cooley.com>; DG-ILD <DG-ILD@goodwinlaw.com>;
UTCvLiquidia-Del-23cv975 <UTCvLiquidia-Del-23cv975@mwe.com>
Subject: Re: UTC v. Liquidia (23-975) - 10/23 M&C follow-up and Saggar production

[External]

Rachel,

                                                            2
    Case 1:23-cv-00975-RGA-SRF          Document 218 Filed 11/27/24 Page 146 of 181 PageID
                                                  #: 12597
Your email is wrong in several ways. First, your use of “UTC’s production” to refer to documents that you
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you did not respond to the transmittal email, which said (highlighting added):

       “Attached please find documents produced by Dr. Rajan Saggar bearing production numbers
       RAJAN_SAGGAR_PH-ILD_000001 - RAJAN_SAGGAR_PH-ILD_000024. UTC has applied the Bates
       numbering and confidentiality designations to the documents that Dr. Saggar produced. UTC has
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a reasonable search, review, and production of UTC’s documents.

Liquidia nevertheless appears to be insisting that UTC conduct additional document collections, from
multiple new custodians—possibly eight or more. UTC will not do that at this stage.

Regarding the Saggar and Faria-Urbina transcripts, it seems clear that this is an attempt to pressure and
distract UTC rather than any true interest in the transcripts’ designation. In any event, we will respond to
you separately regarding those transcripts.




From: Preston, Rachel L <RPreston@cooley.com>
Date: Tuesday, October 29, 2024 at 8:24 AM
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Cc: z/Liquidia v UTC 308970-201 <zLiquidiavUTC308970201@cooley.com>, DG-ILD <DG-
ILD@goodwinlaw.com>, UTCvLiquidia-Del-23cv975 <UTCvLiquidia-Del-23cv975@mwe.com>
Subject: UTC v. Liquidia (23-975) - 10/23 M&C follow-up and Saggar production

[ External Email ]
Counsel,

UTC’s recent production, under the Rajan_Saggar bates prefix, conclusively established that UTC has been
withholding highly material documents falling squarely within Liquidia’s RFPs, served on May 16, 2024, including

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at least RFPs 21, 26, 27, 40, 43, and 44, which we recently discussed during the parties’ October 23, 2024 meet
and confer.


                                               These documents are unquestionably relevant and must be
produced. Art indicated during the meet and confer that UTC is considering Liquidia’s RFPs and positions. Please
provide a response this week, otherwise we intend to bring this issue to the Court.

Further, Art indicated that UTC would be producing Saggar and Faria-Urbina transcripts identifying the information
deemed by UTC to be Highly Confidential. This issue has been pending for a month. Please provide those
transcripts and any agreement UTC intends to rely on to substantiate its claims of confidentiality this week.

Regards,
Rachel

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                                      #: 12600




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

  UNITED THERAPEUTICS
  CORPORATION,

                   Plaintiff,
           v.                                C.A. No. 1:23-cv-00975-RGA

  LIQUIDIA TECHNOLOGIES, INC.,               HIGHLY CONFIDENTIAL

                   Defendant.


                 DEFENDANT LIQUIDIA TECHNOLOGIES, INC.’S
                SECOND AMENDED INVALIDITY CONTENTIONS
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  (’793 patent at UTC_PH-ILD_009791 (7:60-64).) It further discloses that treprostinil is preferably

  administer in 3, 2, or 1 breaths, which do not exceed the 15 breaths limitation covered by claim

  16. (Id.)

                        n.      Claim 17: “The method of claim 1, wherein said administering
                                increases a 6 minutes walk distance of the patient by at least 10
                                m after 8 weeks of the administering.”

         For the same reasons discussed for claims 2 and 3 above, the ’793 patent anticipates

  Asserted Claim 17 of the ’327 patent.

                        o.      Claim 18: “The method of claim 1, wherein said administering
                                increases a 6 minutes walk distance of the patient by at least 15
                                m after 12 weeks of the administering.”

         For the same reasons discussed for claims 2 and 3 above, the ’793 patent anticipates

  Asserted Claim 18 of the ’327 patent.

                        p.      Claim 19: “The method of claim 1, wherein said administering
                                increases a 6 minutes walk distance of the patient by at least 15
                                m after 16 weeks of the administering.”

         For the same reasons discussed for claims 2 and 3 above, the ’793 patent anticipates

  Asserted Claim 8 of the ’327 patent.

         B.      The 2017 INCREASE Study Description Anticipates Asserted Claims 1-11 and
                 15-19 of the ’327 Patent

         Long before April 2020, UTC had already publicly disclosed the protocol for INCREASE

  on clinicaltrials.gov through the 2017 INCREASE Study Description. This Study Description

  anticipates Asserted Claims 1-11 and 15-19 of the ’327 patent.

                 1.     Claim 1 of the ’327 Patent is Anticipated by the 2017 INCREASE Study
                        Description

                        a.      Claim 1[a]: “A method of improving exercise capacity in a
                                patient having pulmonary hypertension associated with
                                interstitial lung disease, comprising”

         With respect to Asserted Claim 1 of the ’327 patent, the 2017 INCREASE Study



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                          n.      Claim 18: “The method of claim 1, wherein said administering
                                  increases a 6 minutes walk distance of the patient by at least 15
                                  m after 12 weeks of the administering.”

          For the same reasons discussed for claim 2 above, the 2009 Tyavso® Label anticipates

  Asserted Claim 18 of the ’327 patent.


                          o.      Claim 19: “The method of claim 1, wherein said administering
                                  increases a 6 minutes walk distance of the patient by at least 15
                                  m after 16 weeks of the administering.”

          For the same reasons discussed for claim 2 above, the 2009 Tyavso® Label anticipates

  Asserted Claim 19 of the ’327 patent.


          D.      UTC’s Prior Sale of Tyvaso® Invalidates Claims 1-11 and 15-19 of the ’327
                  Patent

          The Asserted Claims of the ’327 patent are also invalid because the claimed invention was

  on sale before the effective filing date of the ’327 patent. Under 35 U.S.C. § 102(1), “a person

  shall be entitled to a patent unless . . . the claimed invention was . . . on sale, or otherwise available

  to the public before the effective filing date of the claimed invention[.]” See also Helsinn

  Healthcare S.A. v. Teva Pharms. USA, Inc., 586 U.S. 123, 127 (2019). The on-sale bar applies

  when two conditions are met: (1) the product must be the subject of a commercial offer for sale;

  and (2) the invention must be ready for patenting. Id. at 130. An invention is ready for patenting

  if there is proof that, prior to the priority date of the patent, the invention was sufficiently disclosed

  such that a POSA would be able to practice the invention. Pfaff v. Wells Elecs., Inc., 525 U.S. 55,

  65, 67-68 (1998). Additionally, there is no requirement that the offer specifically identify all of

  the elements, nor must all parties to the transaction recognize or appreciate that all the elements

  are present. Scaltech Inc. v. RetecTetra, L.L.C., 178 F.3d 1378, 1383 (Fed. Cir. 1999).

          At least by 2018, Tyvaso® was prescribed and sold for the treatment of patients with PH-

  ILD. UTC’s CEO, Dr. Martine Rothblatt stated publicly to investors that


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                        h.      Claim 18: “The method of claim 1, wherein said administering
                                increases a 6 minutes walk distance of the patient by at least 15
                                m after 12 weeks of the administering.”

         For the same reasons discussed for Asserted Claim 2 above, Asserted Claim 18 of the ’327

  patent is invalid for obviousness-type double patenting over the claims of the ’793 patent.

                        i.      Claim 19: “The method of claim 1, wherein said administering
                                increases a 6 minutes walk distance of the patient by at least 15
                                m after 16 weeks of the administering.”

         For the same reasons discussed for Asserted Claim 2 above, Asserted Claim 19 of the ’327

  patent is invalid for obviousness-type double patenting over the claims of the ’793 patent.

         B.      Asserted Claims 1–11 and 14–19 of the ’327 Patent Are Rendered Obvious by
                 the ’793 Patent in Combination with Agarwal 2015 and Saggar 2014

                 1.     Motivation to Combine the ’793 Patent with Agarwal 2015 and Saggar
                        2014 with a Reasonable Expectation of Success

         A POSA would have been motivated to combine the teachings of the ’793 patent with

  Agarwal 2015 and Saggar 2014 and would have had a reasonable expectation of success in

  combining these teachings. As an initial matter, a POSA would have been motivated to first

  combine the ’793 patent and Agarwal 2015 since both references are in the same field. Both

  references describe administering inhaled treprostinil to patients with Group 3 PH as explained in

  Sections III.B.4 and III.B.5 above, and they describe treating PH-ILD patients with inhaled

  treprostinil according to similar dosing schemes (i.e., between 15 µg and 90 µg in 3 breaths with

  a nebulizer and administered several times per day).

         As explained by Dr. Channick, and as shown by Agarwal 2015, POSAs were administering

  inhaled treprostinil to PH-ILD patients prior to April 2020.         (Channick Decl., ¶¶41–52.)

  Physicians were also measuring hemodynamics in these patients and also saw significant

  improvements in exercise capacity. Thus, POSAs were motivated to combine the teachings of

  prior art references and were doing so in practice long before April 2020.



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  Contentions. Discovery and Liquidia’s investigation are ongoing, and Liquidia reserves the right

  to modify and/or supplement its First Amended Invalidity Contentions.


                                                  /s/ Sanya Sukduang
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                                CERTIFICATE OF SERVICE

         I certify that I caused copies of the foregoing document to be served on October 30, 2024

  upon the following in the manner indicated:


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                                                                               1



             1

             2                   HIGHLY CONFIDENTIAL

             3                       ROUGH DRAFT

             4                      GREGORY BOTTORFF

             5                THE VIDEOGRAPHER:    We're on the record.

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             7         This is media unit 1 of the video deposition

             8         of Gregory Bottorff, taken in the matter of

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            10         vs. Liquidia Technologies, Inc., defendants

            11         Inc.   Filed in the United States District

            12         Court for the district of Delaware.     Case

            13         Number 23‐975RGA‐SRF.      The location of this

            14         deposition is 414 Fayetteville Street, suite

            15         400, Raleigh, North Carolina 27601.      My name

            16         is Meghan Encinias.     The court reporter is

            17         Audra Smith from the firm Veritext Legal

            18         Solutions.    Will Counsel and all present

            19         please state your experiences and

            20         affiliations for the record beginning with

            21         the noticing attorney.

            22                MR. TOUCHIE:   Thomas Touchie with

            23         Cooley.
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            25         Q      And what products does UTC currently

                                                                             15



             1   produce and market?

             2         A      The entire portfolio or specific to the

             3   discussions today.

             4          Q     Let's talk specifically about those

             5   with the active ingredient treprostinil?

             6          A     ^So we have an oral treprostinil

             7   Orenitram, inhaled treprostinil TYVASO and TYVASO

             8   DPI, and we have an infused treprostinil Remodulin.

             9          Q     And do you know what the approved

            10   indications are for TYVASO?

            11          A     Yes.

            12          Q     What are they?

            13          A     To improve exercise capacity.

            14          Q     I'm sorry.   I'm asking specifically

            15   about the indications, so the diseases that they're

            16   targeting?

            17          A     To impose exercise capacity for

            18   pulmonary arterial hypertension and to improve

            19   exercise capacity for pulmonary hypertension related

            20   to interstitial lung disease.
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            21         Q     So today in our discussion when we're

            22   discussing pulmonary arterial hypertension, would it

            23   be okay if we say "PAH"?

            24          A     Yes.

            25          Q     And for pulmonary hypertension related

                                                                           16



             1   to interstitial lung disease, would it be okay if we

             2   said "PH‐ILD"?

             3          A     Yes.

             4          Q     Would it be fair to say both TYVASO and

             5   TYVASO DPI are indicated for the treatment of both

             6   PAH and PH‐ILD?

             7          A     Yes.

             8          Q     So you've been designated to testify

             9   regarding UTC's market share for TYVASO and TYVASO

            10   DPI for the treatment of PH‐ILD, regarding patient

            11   update, adherence or continuation rates, the

            12   relevant market, competing products, and any

            13   internal or external evaluations of UTC's market

            14   position relevant to competing products.
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             4                What is patient adherence rates?

             5         A      Basically patients staying on therapy.

             6         Q      What do you mean by "staying on

             7   therapy"?

             8         A      Continues to receive shipments.

             9         Q      Okay.    So the patient would be

            10   prescribed the product and then would continue to

            11   use the product?

            12                MS. PAPPAS:    Objection.   Form.

            13          A     Correct.

            14   BY MR. TOUCHIE:

            15          Q     Okay.    And what about patient

            16   continuation rates?

            17                MS. PAPPAS:    Objection.   Form.

            18          A     I'm not familiar with that terminology.

            19   It sounds synonymous with adherence.

            20   BY MR. TOUCHIE:

            21          Q     As in it would be the rate at which

            22   patients continue to use the product over time; is

            23   that fair?

            24          A     That's what it sounds like it means.

            25          Q     Okay.

                                                                                 38
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             1         A     I don't really use that terminology.

             2         Q     What terminology do you use?

             3         A     Adherence.

             4         Q     Adherence.
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